EXHIBIT “D”

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FIRST ACCEPTANCE CORPORATION, ) __
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Prainafr, ) ` f
)
vs_ ) Docket No. l£~ (),3.:,£¢§ ,,j]Z'_-_
§
CATLIN INSURANCE COMPANY (UK), )
LTD., )
)
Defendant. )

 

COMPLAINT FOR DECLARATORY JUDGMENT AND DAMAGES

 

Comes now the Plaintit`f, First Acoeptance Corporation (“FAC”), by and through counsel,
and brings this action for declaratory judgment pursuant to the provisions of Tennessee Code
Annotated § 29-14-]01, gt sgq. ("Tennessee‘s Declaratory Judgment Act"), breach of contract,
and bad-faith against Catlin lnsurance Company (UK), Ltd., (“Catlin”). FAC seeks a declaration
of the parties’ respective rights and obligations under the insurance policy-in connection with a
claim first made against FAC and reported to Catlin in writing during the policy period.

PARTIES

l. FA'C is a Delaware corporation with offices located at 3813 Green Hills Village
Drive in Nashville, Tennessee 372]5 and is properly licensed and qualified to do business within
the State of Tennessee. Plaintift` is a proper party to this action pursuant to Tennessee Code
Annotated § 29-14-107.

2. Catlin is a foreign corporation with offices at 140 Broadway, 43rd Floor, New

York, New York, 10005, that is an eligible surplus lines insurer in Tennessee, transacts business

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in Tennessee, and has contracted to supply services in Tennessee, including the sale of
professional liability insurance policies covering risks in Tennessee. Pursuant to Tennessee Code
Annotated § 56-2-601, et seq., Catlin may be served with process through the Tennessee
Commissioner of lnsurance at 500 James Robertson Parkway, Davy Crockett Tower, Nashvillc,

Tennessee, 37243-0565.

3. Pursuant to its intemal regulations, the database of the Tennessee Department of
Commerce and Insurance designates Gardere, Wynne, Sewell, LLP, 600 Congress Avenue, Suite
3000, Austin, Texas 78701 as Catlin‘s agent to which process should be issued and served.

VENUE AND JURISDICTION

4. Catlin is an eligible insurer in Tennessee, insures risks in Tennessee, transacts
business in Tennessee, and contracts to supply services in Tennessee, including the sale of
professional liability insurance policies covering risks in Tennessee.

5. FAC, the owner of a policy issued by Catlin, has its principal place of business in
Davidson County, Tennessee.

6. During all times relevant to this Complaint, FAC has tracked, monitored and/or
coordinated the defense and/or settlement of insurance claims and rendered professional services
to its policyholders from Davidson Courity, Tennessee.

7. Likewise, during all times relevant to this Complaint, FAC has sent to and
received from Catlin claims correspondence related to this particular claim and otherwise
communicated with Catlin from Davidson County, Tennessee.

8. This Court has jurisdiction pursuant to Tennessee Code Annotated §29-l4-102',
and venue is proper in this Court pursuant to Tennessee Code Annotated §20'4-104(3)(]3).

9. Venue and jurisdiction, therefore, are proper in Davidson County, Tennessee.

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THE POLICY

lO. Catlin issued and/or sold the following professional liability insurance policy to

 

 

 

 

FAC (“the Policy"):
cATLrN
PochY ramon " ' ` " rol.l`ov NUMB'ER
07-01-201'0T'o 07-01-2011 ' ' ' ' leaatass`-orio

 

 

 

 

ll. A copy of the Policy is attached as Exhibit A.

 

12. Pursuant to the provisions of the lnsuring Agreement, Catlin agreed as follows:
l. insuring Agreement

The lnsurer shall pay, on behalf of the Insured, Loss arising
from any Claim by a policyholder or third party client first
made against the lnsured during the Policy Period or the
Discovery Period (it` applicable) and reported to the lnsurer
during such period pursuant to the terms of this Policy for a
Wrongf`ul Act in the rendering of or failure to render
Profcssional Services to the claimant.

13. Section II of the Policy defines “Loss“ as:

Loss" means damages, judgments, settlements and Def`cnse Costs.
Loss shall include`p`u`nitive, exemplary, and multiple damages to
the fullest extent permitted by applicable law. Where the lnsureds
reasonably determine that punitive, exemplary or multiple damages
are insurable under applicable law, the lnsurer will not contest this
determinationl

l4. Section II of the Policy defines “Professional Services" as:

“Professional Services” means the services performed by an
lnsured for a policyholder or third party client pursuant to a written
contract with such policyholder or third party client for a fee,
commission or other remuneration or financial consideration which
inures to the benefit of' the Company.

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]5. Section ll of the Policy defines “Wrongful Act” as:

“Wrongful Act“ means any breach of duty, neglect, error,
misstatement or misleading statement, omission or act by an
lnsured.

16. The following provisions are relevant to when coverage is triggered under the

Policy:
(a) Section ll of the Policy defines “Clairn” as:

l. a written demand lfor monetary or non-monetary
relief made upon an lnsured;

2. a civil or criminal proceeding (including an
arbitration 'or mediation proceeding) for monetary
or non-monetary relief against an lnsured which is
commenced by service of a complaint or similar
pleading or return of an indictment or information
in the case of a criminal proceeding;

3. any administrative or regulatory proceeding for
monetary or non-monetary relief against an lnsured
which is commenced by receipt of a notice of
charges‘, or

4. a civil, criminal, administrative or regulatory
investigation of an lnsured for a Wrongful Act, but
only after such lnsured is identified in writing by
the investigating authority as an entity or person
against whom a proceeding described in 2. above
may be commenced

l7. Pursuant to the terms and provisions of the Policy, any claim alleging bad faith in
claims handling and adjusting constitutes a wrongful act for which coverage is extended under

the Policy.

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18. Section VI of` the Policy entitled “Notice of Claim or Wrongful Act“ specifies that
an lnsured may provide Catlin with a notice of circumstances which reasonably may be expected

to give rise to a “Claim":

If during the Policy Period, the lnsureds become
aware of a specific Wrongful Act which reasonably
may be expected to give rise to a Claim being made
against the lnsureds and give written notice t_o the
lnsurer of the specific Wrongful Act, thereasons for
anticipating such a Claim, the identities of the
potential claimants and the lnsureds allegedly
responsible for such specific Wrongful Act, the
amount of actual or potential damages,- and the
circumstances by which the lnsureds first became
aware of such specific Wrongful Act, then any
Claim subsequently made against the Insureds
arising out of such specific Wrongful Act, shall be
deemed to have been made at the time such notice
was received by the lnsurer.

BACKGROUND

19. On August 12, 2007 a motor vehicle accident involving an FAC insured driver,
Josh Minson, resulted in personal injuries to various individuals including Justin Pit‘tman,
Chelsea Pittman, and Wendy Pittman (collectively "the Pittmans”) for which each made claims
against Mr. Minson’s FAC policy.

20. As a result of the various claims presented in connection with the motor vehicle
accident that occurred on August 12, 2007, FAC initiated efforts to enter into a global settlement
to resolve all claims for the policy limits available to Mr. Minson. Despitc the efforts initiated
by FAC, the Pittmans elected not to participate in the mediation process designed to resolve all
claims. On or about February 22, 2008, the Pittmans filed a complaint for damages in the Circuit

Court of the Third Judicial Circuit in and for Columbia County, Florida being Case No. 08-

lOSCA.

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21. FAC,`pursuant to the liability policy issued to its insured, Mr. Minson, defended
the claim and continued its efforts to resolve the outstanding claim for the remaining limits of the
Minsons’ policy.

22. On May 6, 2011, the Pittmans’ counsel provided Mr. lvfinson (not FAC) with a
written settlement demand in the amount of $21,500,000. A copy of the Pittmans’ settlement
demand letter is attached as Exhibit B.

23. As a result of the Pittmans' written settlement demand, on May 27, 2011, FAC
instructed Lockton lnsurance Brokers, LLC (“Lockton") to provide Catlin with notice of
circumstances pursuant to Section Vl of the Policy. Because of the amount demanded, FAC
explained that it reasonably expected the Pittmans to bring bad faith and!or negligent claims
handling against FAC. A copy of the Lockton letter is attached as Exhibit C.

n 24. On Junc 7, 2011, Lockton informed Catlin of FAC’s notice of circumstances

regarding the Pittman matter. A copy of this letter is attached as Exhibit _12.

 

25. Catlin acknowledged receipt of FAC’s notice of circumstances regarding the

Pittman matter on J unc 20, 20l l. A copy of this acknowledgement is attached as Exhibit E.

 

26. Upon the receipt of FAC’s notice of circumstances, Catlin`s Senior Claims
Examiner, lnna Kogan, attempted to limit coverage under the Policy by maintaining that all
notices of circumstances were required to be reported to Catlin under the terms of the Policy.

27. On July 27, 2011, Ms. Kogan withdrew her previous position and explained to
FAC that, as of that date, Catlin would agree to accept the Pittman matter as a notice of
circumstances The July 27, 2011 e-mail is attached as Exhibit F. By treating the Pittmans’
written settlement demand as a notice of circumstances rather than as a “Claim,” Catlin indicated

to FAC that it did not consider Exhibit B issued on May 6, 201 l as sufficient to trigger a "Claim”

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under the Policy. Catlin confirmed this position in a September l, 2011 letter to FAC, which is
attached as Exhibit G.

28. Due to the impending mediation land trial date of the Pittman matter, on
September 13, 2011, FAC wrote Ms. Kogan and requested that Catlin become directly involved
in further settlement negotiations, and ‘_‘to confirm Catlin’s coverage position with respect to this
matter . . . .“ A copy of the letter is attached as Exhibit H.

29. On October 31, 201 l, Catlin’s counsel, Jessica Tyndall, informed FAC that
“Catlin has determined that the matter should be treated as a Claim going forward" and requested
a substantial amount of information from FAC. A copy of the e-mail correspondence is attached
as Exhibit I.

30. Catlin confirmed this position in an October 31, 2011 letter to FAC,l Ms. Tyndall
stated that although a “Claim” is defined by.the Policy as a “written demand for monetary
relief," based on the circumstances surrounding the Pittmans’ lawsuit against FAC, the demand
at a recent mediation and the Pittmans’ continued allegations that FAC erred in its claims
handling, Catlin had concluded that it was now appropriate to treat the matter as a “Claim.“ A
copy of the letter is attached as Exhibit J.

31. FAC complied with all of Ms. Tyndall’s requests by providing Catlin with its
claim file and other related documents regarding the Claim.

32. While FAC involved Catlin in all settlement discussions regarding the Pittmans’
Claim, Catlin failed to provide FAC with authorization to offer its $l million self-insured

retention until January ll, 2012. Catlin further refused to commit to participate in any

mediation.

 

l The letter is improperly dated October 31, 2010. The letter should reflect the date of October 31, 201 1.

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33. On January 17, 2012, Ms. Tyndall informed FAC that Catlin was denying all
coverage regarding the Claim notwithstanding its previous correspondence with FAC. A copy of
this letter is attached as Exhibit K.

34. Catlin contended that its denial was based on the January 29, 2008 and January
30, 2008 letters from the Pittmans’ counsel, Alejandro M. Garcia. Mr. Garcia’s letters, Catlin
maintained, constituted a previous “written demand for monetary relief,” and therefore should
have been reported under an earlier policy period. Catlin concluded that the Pittman claim failed
to trigger coverage during the 2010-2011 Policy period due to the “clairns made and reported”
language of the Policy. Copies of Mr. Garcia’s letters are collectively attached as Exhibit L.

35. FAC responded on .lanuary 23, 2012, that Catlin’s sudden denial of coverage was
unwarranted because Mr. Garcia’s January 29, 2008 letter merely indicated that the Pittmans
would be looking for an excess verdict against Mr. Minson and failed to demand any monetary
relief from FAC. A copy of the letter is attached as Exhibit M.

36. On January 27_, 2012, Ms. Tyndall responded that Catlin’s coverage position “was
sound and supported by the facts and applicable law.” Catlin advised FAC that it reserved its
rights to contest the reasonableness of any settlement in an amount exceeding $3 million. This
correspondence again provided FAC with no basis for Catlin’s coverage position consistent with
the terms and conditions of the Policy. A copy of the letter is attached as Exhibit N.
Subsequently, Catlin retracted its position, waived any objections to the resolution of the
Pittmans’ claim for an amount less than three million ($3,000,000.00) dollars and agreed not to
dispute the reasonableness of the settlementl

37. On February 7, 2012, FAC informed Catlin that its denial of coverage was

baseless, and that by continuing to maintain such position, Catlin was acting in bad faith.

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Eventually, the claim was resolved for $2.1 million and FAC demanded that Catlin tender $l.l
million under the terms of the Policy. A copy of this letter is attached as Exhibit O.

38. FAC has provided notice and otherwise complied with all terms and conditions
precedent to coverage with respect to Catlin’s coverage

39. chertheless, Catlin has denied coverage of the claim despite its representations
to FAC that it intended to treat the matter as a “Clairn." Rather, Catlin has denied FAC coverage
notwithstanding the terms and conditions of the Policy and contrary to position previously

adopted.

40. FAC has engaged in rcpeated, good faith efforts to reach an agreement with Catlin
consistent with Tennessee law but Catlin has refused to provide coverage in accordance with its
obligations.

COUNT I: DECLA.RA'I`ORY RELIEF

41. FAC incorporates by reference the foregoing paragraphs as if fully set forth
herein.

42. Under the terms of the Policy, Catlin has a duty to FAC to provide coverage for

the Claim.

43. Despitc demand and contrary to the position previously adopted, Catlin breached
and/or disputed their obligations under the Policy.

44. As a direct and proximate result of Catlin’s breachcs, FAC has incurred
substantial actual costs and damages, and such damages are continuing

45. An actual controversy of a justiciable nature presently exists between FAC and
Catlin regarding the scope of coverage under the Policy andfor the appropriate trigger and

allocation applicable to the Claim, as to which declaratory relief is proper considering the

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provisions of the Policy and underlying facts and circumstances FAC is entitled to a declaration
that there is coverage under the Catlin Policy for the subject claim and loss incurred by FAC.
COUNT Il- BREACH OF CONTRACT

46. FAC incorporates by reference the foregoing paragraphs as if fully set forth
herein.

47. Under the terms and conditions of the Policy sold to FAC, FAC is entitled to the
payment of benefits as set forth within FAC’s Claim presented to Catlin.

48. FAC presented a “Claim” under the Policy and has otherwise provided Catlin all
the information necessary to establish its entitlement to the payment of benefitsl

49. Notwithstanding the presentation of the Claim, Catlin refuses to make payments
to FAC as required under the terms of the Policy.

50. The contract of insurance entered into between FAC and Catlin imposed upon
Catlin and its agents and/or representatives the obligation to deal fairly, reasonably and in good
faith with FAC. Catlin has violated these duties and, as a result thereof, FAC has sustained
damages.

51. Catlin’s refusal to pay FAC the amounts paid in excess of the retained limit
constitutes a breach of contract for which FAC is entitled to recover all damages suffered as a
result thereof.

COUNT III - BAD-FAITH PENAL'I`Y

52. FAC incorporates by reference the foregoing paragraphs as if fully set forth

herein.

53. Catlin’s refusal to make payments to FAC as described herein constitutes a bad-

faith denial of FAC's claim.

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54. As a result of Catlin’s bad-faith refusal, FAC has incurred additional expense, loss
and injury thereby justifying imposition of a twenty-five percent (25%) bad-faith penalty as
provided by Tenn. Code. Ann. §56-7-105.

WHEREFORE, Plaintiff prays as follows:

A. That service of process is issued to Defendant according to law and
Defendant be required to appear and answer truthfully to the allegations contained in this
Complaint;

B. That the Court, pursuant to Tennessee Code Annotated §29-14-101 et
B., adjudge, determine and declare that FAC is entitled to coverage and damages under the
Policy consistent with Tennessee law',

C. That the Court award FAC compensatory and consequential damages in an
amount to be determined by the enlightened conscience of the jury and as demonstrated by the
evidence, including pre- and post-judgment interest;

D. That the Court award a bad-faith penalty as provided by Tenn. Code Ann.
§56-7-105; and

E. For such further and additional relief to which the Court may determine

Plaintiff is entitled.

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Respectfully submitted this 5 day of fM- , , 2012,

WOOLF, McCLANE, BRIGHT,
ALLEN & CARPENTER, PLLC

     

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CL_attr/c. sustaaame, arnett/01 5323
Katherine F. Layman, BPR #029165
Post Officc Box 900

Knoxville, Tennessee 37901-0900
(865) 215-1000

Attorneys for Plaintiff First Acceptance Corporation

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COST BOND

We acknowledge ourselves as surety for all costs and taxes in this case in accordance
with Tenn. Code Ann. § 20-12-120.

PRINCIPAL:

By: ‘MM f:). QM
_MALQL§AA&E@F

FIRST ACCEPTANCE CORPORATIO`N

 

SURETY'.

WooLr, Mch__ANa, aaronr,
ALLEN a cARPsNraR, PLLc

     

By:

 

1576. §usfamart'te, BPR # 015328
Katherine F. Layman, BPR #029165
Post Office Box 900

Knoxville, Tennessee 37901-0900
(365) 215-1000

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EXHIBIT A
PROFESSIONAL L]ABILITY INSURANCE POLICY

[attached]

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PLEASE READ THlS ENTIRE POL|CY CAREFULLY. CONSULT YOUR BROKER OR OTHER
REPRESENTAT|VE lF YOU DO NOT UNDERSTAND ANY TERMS OR PROV|S|ONS OF THIS
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Pr|ncipaj Address: 3322 WES\ End AVE. Suite 1000
Nashvi||el TN 37203

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item 2. Policy Perlod:

From: 07101!2010 at 12:01 a.m. (tcca| time at the address stated in item 1.)
. v To: __ 07101!2011 at 12:01 a.m;tiocai time at the address stated in item 1.)
item 3. Aggregete leiter Llabimy: r§r§,oco.ooo ' ` ` `
item 4.' R_e_teniion; $¢1_,000,00'0 7 iii ` "
item 5. C¢d|nsurance Percentage each Cl_aim: 0 % _

item 6. Premium: $ 180.000.00
Addiiiona| Prem|um for the Discovery Period: 150% ot Premium
Le¢ngih of the Discovery Period: 12 Months

item 7. Penolng or Pn'er Daie: os/oinscs
item 8. Re_troaeiive Date: N;A ri
item 9. Noilces to insurer:

 

 

 

 

 

 

Cia|ms: Aii Other Notiges:

Claim Manager - Professional L|ab|lity - Underwriiing Manager- Proiesstonal Liabi|ity
Catlin, inc. Catlin. inc.

140 Broadway, 43" Ftoor 140 Broadway, 43'° Floor

New York, N¥ 10005 New Yort<, NY 10005
E-mait: caiiinela|mspl@cat||n.com -

 

 

 

 

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item 10. Endorsements Appiicabie to Coverage at inception ot litcl|cy:
See Scheduie oi Endorsements

 

 

 

'i`HESE DECLAFLATIONS, TOGETHER WITH THE COMPLETED AND SIGNED APPLICAT|ON FOR
Tl_'llS POL|CY, ALL MATER|ALS SUBMHTED THEREW|TH OR MADE A PART THEREOF AND THE
POLlCY FORM ATTACHED HERETO, GONST|TUTE THE POL|CY. -

This Policy shall not be valid unless also signed by another duty authorized representative ct the insurer.

 

 

 

 

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Counterslgned: /Mj%wad UM\.~ By: ;4/%¢;1/»¢£;/£_
Date: ' ' 10118!201`i Authorized Reprasantative'. John Van Decker

 

 

 

 

 

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. -Cv- 484 Document1-4 Fl|ed 05/16/12 Page 17 01 104 Page|D#: 41

 

TH|S ENDORSEMENT CHANGES THE POLiCY` PLEASE READ lT C

AREFULLY.

SCHEDULE OF FORMS AND ENDORSEMENTS

 

"Tnimed insured "
First Accepiance Corpor_aiion

 

Policy Numbor

 

 

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F,om 01101;2010j _ 10 07101;2011

 

 

 

 

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insurance Company Profess|onai Liabiiiiy insurance Policy Decia
in Witness Endorsement

Service ci Suit

insurance Company Proiessicnai Liabi|ity insurance Policy (B)
Credii Rating Trigger Cance||ation Endorsement

Amended Detinit|on 01 Appilcaiion Endorsement

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TH|S lS A "CLA|MS MADE AND REPORTED" POL|CY. SUBJECT TO lTS TERMS AND
PROVISIONS, TH|S POL|CY ONLY AFFORDS COVERAGE FOR CLA|MS F|RST.MADE AGA|NST
THE lNSUREDS AND REPO_RTED TO THE iNSURER lN WRiT|NG DURiNG THE POLlCY PER|OD OR
DlSCOVERY PERICJDl lF APPL|CABLE. iN ADDiTiON, DEFENSE COSTS ARE |NCLUDED lN AND

WILL REDUCE THE LlM|TS OF LlAE|LITY.

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in consideration ci the payment of the premium, and in reliance upon the statements made in the
Appiicat|onl which is incorporated into this Policy and forms a part hereof, the insurer identified on the
Deciaraiions. herein called the "insurer", agrees as follows:

l. insuring Agreement

T he insurer shall pay. on behalf oi the lnsured. Loss arising from any Claim by a policyholder or
third party client first made against the insured during the Policy Feriod or the Discovery Period
(if applicable) and reported to the insurer during such period pursuant to the terms of this Policy
for a Wrongfui Act in the rendering el or failure to render Professionai Services to the claimant.

ii. Definitions
A_ 'Appl|cation' means:

i. the application for this Policy and for any policy of which this Policy is a direct or
indirect renewal or replacement any attachment to any such eppiicalion(s), any
other materials submitted with'or incorporated into any such application(s) and any
documents submitted in connection with the underwriting of any such policy (tes);
and.

2. to the extent made by or required of the insureds:

any public documents iiied prior to the inception date of this Policy by the
Named insured with the Securities end Exchange Commission or any
similar _fede_'rel. state, iooa|jor foreign regulatory body, and any other written
public staiernent_or oertii_ieation required by law to be made by the chief
executive o_liicer. chief iin'ancie| oiticer or`other executive oihcer ot the
Named insured regarding the accuracy. completeness or adequacy of
such Insur'ed's tinanc|ai statementsl SEG tiling's, or internal controis;

whether or not such public documentsl statements or certilications are furnished to
- the lnsurer.

The insureds agree that all warranties and representations contained in the Appiication
are deemed made to the insurer. The insureds agree further that the Apptication is
deemed attached to and incorporated into this Policy.

E. 'C|aimll means:
1. a written demand for monetary or non-monetary relief made upon an lnsured;
2. a clin or criminal proceeding for monetary or non-monetary relief against an

insured which is commenced by service of a complaint or similar pleading or
return of an indictment or information in the case of a criminal proceeding; or

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3. any administrative or regulatory proceeding for monetary or non-monetary relief
against an insured which is commenced by receipt of a notice ot charges

Claim shall not include an investigationl

C. 'Comp_any‘ means the Named insured and any aub_sld_lary created cr acquired on or
before the inception date and time stated in item 2. ol the Declare_iions or, subject to
Generai Condiilons B.D., during the Policy Period, including any such company as a
debtor in possession under United Siaies` bankruptcy law or an equivalent status under
foreign iaw.

D. 'Company Takeover' means:

1. the Named insured consolidating with or merging intol or selling ali or
substantially ali of its assets to any other person or entity or group of persons
andlor entities acting in conceri, or _

2. any person or entity or group of persons andlor entities acting in concert that
acquire an amount of the outstanding securities representing more than fifty
percent (50%) of the outstanding stocker other interest representing the present
right to vote, designate or select `a malority`ol the board of directors of the
Named insured. ` `

E. 'Deiense Costs' means reasonable and necessary lees. costs and expenses consented
to by the insurer (lnciud|ng premiums lor any appeal bond,'at_tachm`eni bond o`r similar
bond. but wlihout_any' obligation to apply icr or furnish any such bond) resulting solely
lrom the lrives'ligatlon,r adjustmentl defense and appeal-of a` Ciaim'against the insureds,
but excluding the Company's overhead expenses or `any saiaries, wages, fees :or
benefits of any directors oflicers or employees of the Company. '

F. "insureds" means
1. the Company'. and .
2. any natural person who was. now is or shall be a duly elected or appointed

director. officer or employee of the Company solely while acting in his or her
capacity as such.

G. 'interre|ated Wrongfui Acts' means any Wrongfu| Acts that are;

1. similarl repeated or continuous; cr

2. connected by reason of any common facts, circumstance situaii_on, iransactlon.
casualtyl event, decision or policy or one or more series of facts. circumstancesl
sliuations. transactions,` casualties, evenis. decisions or pciicies.

H. "Loss' means damages. judgments, settlements and De_ferrse Costs. Loss shall include
punitive. e)rtempiaryl and multiple damages to ihe- fullest extent permitted by applicable
law. Where the insureds reasonably determine that punitive. exemplary or multiple
damages are insurable under applicable law-. the insurer will not contest this
determination `

Loss _shail not lnclude:

t. civil or criminal lines or penalties imposed by iaw;

2. taxes;

3 the cost of any non-monetary relief. including without limitation any costs
associated with complying with any injunctive relief of any kind or nature imposed
by any |udgmenl or settlement

4. any amount for which the insureds are not Enancially liable or which are without
legal recourse to the lnsureds', or

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5. any matter which may be deemed unlnsurable under the law pursuant to which
this Policy shall be construed_

i. "Named insured” means the entity identified in item 1. of the Dsclaralions.

J. 'Poilcy Period" means the period of ilme from the inception date and time stated in item 2.
of the Declaralions to the earlier of the expiration date and time stated in item 2. of the
Deciaratlons or the effective dale and lime of the cancellation of this Policy.

l<. 'Po|iuiant,s" means:

1. any substance that exhibits any hazardous characteristics as defined by, or
identified on a list of hazardous substances issued 'by.. the United Slales
Envlronmenlal Proiectlon Agency or any foreignl slate. couniy, municipal or local
counterpart theretc, includingl but not limited to. solids. lio,uic`lsl gaseous or_
thermal lrrilants. contaminants or smoke. vapor, dust‘, soot, fumes. acids. aikells,.
chemicals or waste materials (lnciuding but not limited to materials to be
recycled. reconditioned or reclaimed sewage or-waste water. nuclear materials
infectious or medical waste); or

2. any air emissionl magnetic or electric waves or emissions, odorl oil or oil
productsl asbestos or asbestos producis. fibers, moldl spores, fungll germs.
bacterle. viruses or any nolse.

L. 'Professiona| Services" means the services performed by an insured for a policyholder
or third party client pursuant to a written contract with such policyholder or third party
client for a leel commission or other remuneration or financial consideration which inures

to the benefit of the Company;

Ni. “Subsldler.y' means any corporation-cr _lii_n`ited'|lability company during anytime in which
the Named insured owne, dl_recliy‘or indirectly through one or more ellis Subsldiarles.
more lhan' fifty percent (-50%) of the outstanding stocir.¢er other interest representing the
present right _to vote., designate or select a majority of ihe_ board of directors el n
corporation ortho management board of a limited liability company_

N. 'Wrongfu| Acl' means any breach of duty. neglect, errcr. misstatement, or misleading
slatement. omission or act by an insured.

i||. Exc|usions
This Policy provides no coverage in connection with any Loss arising from any Clalm:

A. brought about or contributed to by the gaining in fact of any profit or advantage to which an
insured was not legally entitled or the committing in fact of any criminal act;

B. brought about or contributed to by the committing in facial any deliberately fraudulent act
or deliberate conflict of inleresi:

provided that for the purpose of determining the applicability of Excluslons A. and B.. the
Wron'giui Act of any natural person who was, now is or shall be a duly elected or appointed
director. officer or employee of the Ccmpany shall not be imputed to any other director, officer or
employee, but such Wrongful Act; shall be imputed to the Company;

C. for any actual cr alleged bodily ln|ury, mental anguish or emotional distressl sicknessl
disease. death o_l any person. libel.. slander. defamation or disparagement violation of
any pereon's right _ol privacy. false arrest. detention. lmprlso'rimenl, wrongful entry or
eviction, or damage to or' destruction of any tangible properly. including the loss of use
thereot; providedl however,- this exclusion shall not apply to any Claim alleging bad faith
in claims handling and adjusting; "

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arising out ot,'based upon or ln'consegue_nca of, directly o_r lndirecliy_re_su|i|ng from or in any
wa_y involving any actual or alleged violationts) of any of the respt::_nsibiii_lie.-.\l obligations or
dulles imposed by the Err_\ployee- Retlrement income Security _Act of 1974. or
amendments thereto or`raguiaiions._lher_eunder. or any similar fo'reign, staia. local or
common law in connection with any employee pension benefit plen, employee welfare
benefit plan or excess benefit planes deun_ed -tn 29 U.`S.G. § tool or employee stock
ownership plan as deiine`d in 26 U.S.G; § 4975. of the Company`;

by. on behalf of or in the right 'of the lnsured_s,__in any respect and whether or nol
collusivet or 'a-receiver, liquidator, rehabilitator_. trustee in bankruptcy _0r successor to the
rights of any insured under this P`oi|cy; providedl however. this exclusion does not apply
to `a Claim by an employee of the Compa'ny in his or her capacity as a policyholder or
third party client of‘the Company;

arising out of, based upon or in consequence ofl directly or indirectly resulting from or in any
way invoiving: -

‘l. any demand, suitl proceeding or other claim made against the insuredl or any
investigation of which any insured had notice. pending on or prior to the Pending or
Prior Date stated in item ?. of the Declarations; or

2, any fact, matter, circumstancel situation. transaction or event underlying or alleged
in such demandl suit. proceeding, claim or investigationl

regardless of the legal theory upon which such Claim is predicated'.

arising out of. based upon or in consequence of, directly or indirectly resulting from or fn any
way involving:

i. any Wrongful Act occurring on or prior to the Retroaclive Date set forth in item
8. of the Declarations; or
2. any Wrongfui Act occurring after such Relroaciive Date whichl together with a

Wrongfui Acl: occurring on or prior to such Retroactive Dale. would constitute
interrelated Wrongful Acts'. or

arising out of, based upon or fn consequence of. directly or indirectly resulting from or in any
way lnvolving: ‘

1. any Wrongfui Act alleged in any demand, sult, proceeding or other claim which
has baen'reponed. or in any circumstance of which notice has been given, prior
to the Policy Period under.any other insurance poiicy; or

2. any other Wrongful Act whenever occurring. which together with a Wrongful
Act which has been the subject of such claim or notice, would constitute
interrelated Wrongfui Acts.

arising out of, based upon or in consequence ofl directly or indirectly resulting from or in any
way involving:

1. any Wron_gfu| Act or any fact, mat_ier. circumstance. sltualion. transaction or
event involving _t_ha_ insureds that resulted in 'a ludgmenl or settlement against a
policyholder._o_f the insureds for an amount in excass;o`l_ the limit of liability under
the policy issued _to such policyholder_which |udgmenl' or settlement occurred
prior to the Pending or Prlor Date stated in item _7. of the Declaralions; or

'2. any other llilr`ong'ful Act'whe_never'occurring., which together with the Wrongtul

Act described in`_ 1_. above, would consiituteinterreiated Wrongfui Acts_;

provided, however. this exclusion shall only apply to a Claim for a Wrongful Act
involving claims handling and adjusting;

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J. arising out of, based upon or in consequence of, directly or indirectly resulting from or in any

way involving'.

'i. the actual. alleged or threatened discharge. dispersal. release or escape of
Poilutants'l or

2. any direction to test for. treatl monitor, clean up. remova. contain. treat. detoxtly

or neutralize Po|lutants;

including without limitation any actual or alleged propertyrdamage o_r financial loss
incurred by. or bodily injury. sickness or disease or death ot. any insured or any
policyholder or client or other person or organization resulting _irom the matters described
in tel or (b) et the exciusion: or the handling or- ad]usllng ot claims by tha_ insureds for a
policyholder or third party client involving the aforementioned matters;

i<. for premiums retu`_ premiums,_ tax moniss. fees. commissionsl other compensation. or
interest lhi_sreon‘l or that portion ot any settlement or award in an amount equal to such
i`)l'e¢ntumsL return premiums. tax montas. iees. commissionsl other compensation, or interest

thereon, or arising o__ui of any commingling ot funds:

L. arising out otl based upon or in consequence of, directly or indirectly resulting froml or tn any
way involving actuarial consulting or the failure to establish. the inadequacy or the
inaccuracy of reserves;

M. by, or on behalf of. or in the right ot any reinsurer ot the Company; provided. however.
this exclusion shall not apply to a Claim by a reinsurer in its capacity as a policyholder or
third party client of the Company:

N. arising out oi. based upon or in consequence oi. directly or indirectly resulting from. or in any
way involving the insolvency, `consarvalorshi_p. receivershlp, ba_nitnipicy, liquidation or
inability of the insureds to pay claims or perform Proiossio`nal Servtces:

O. arising out`-_oi..baaed upon or in consequence oi. direcin or tndirect|y resulting froml or in any
way involving any express -.warranlias or guaran_ties, estimates of probable construction
costs. or costs exceeding estimates made in connection with Protessional Servicas;

P. arising out of, based upon or in consequence oi, directly or indirectly resulting froml or in any
way involving any Claim byl or on behati oi. or for the beneiil ot. or with the solicitation or
assistance ot:

1. any pool. association or syndicate (inc|uding any oftioer, director or employee
thereot) in which the insureds are a participant or ' '

2. any participant ltlncludlng any oflicar. director or employee thereon in any pooll
association or syndicate in which the insureds are a participant

O. for any liability contractually assumed by the insureds under any:

i. policy, contract or agreement of insurancel reinsurance. auretyship, annuity or
endowmsnl; or

2. other orall written or implied contract or agreementl except liability which arises

from the negligent performance of Profess|onal Servtces. or to the extent that
liability would have attached to the insureds in the absence of such contract or
agreemeni'.

R. tor any of the following services:

1 medical, dental or related healthcare;

2. real estate appraisa|;

3. architectural or construction management or
4 the practice ot law or the rendering ot iegal;

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S. arising out oi. based upon or in consequence of. directly or indirectly resulting irom. or in any
way involving discrimination;

T. arising out oi. based upon erin consequence of, directly or indirectly resulting from1 or in any
way involving any tnsured’s service ss a director. officer or employee of any entity other
than the Company. even_li directed or requested byrne Company to serve as a director,
officer. or employee of such other entity;

U. arising out of, based upon or in consequence oi. directly or indirectly resulting irom. or in any
way involving the unauthorized access to any electronic data processing or computer
systems oi the lnsured;

V. arising out of, based upon or'in consequence .oi. directly or indirectly resultinglrom, or in any
way involving advertising activities or material. or the marketing or selling ct any insurance
policy .or annuity. or any other insurance or investment produol; provided. howe'ver. this
exclusion shall not apply to a 'Cialm arising solely out oi a representation promise or
guarantee ol a 'Coniract Agent acting without the authority _or approval oi the insureds (ior
purposes ol this exclusion :Contract Ageni means'a'duiy licensed |iie`or accident and health
agent. general or managing ageni, or duly_licensed registered representative .or registered

principal with the Nationa| Associailon ot Se_curitles Dealsrs. inc.-._whlle acting under valid
contract with the insuredai:

W. arising out of, based upon or in consequence oi, directly or indirectly resulting trom, or in any
way involving:

1. any actual or alleged purchasje. salel origin_at|r.\r'rl participation. syndication grant.
commitmentl restructuringl tennlnation, irenei__er_. repossessicnor foreclosure el any
loan, lease or extension ol creditl or the fallu'r'e.to; do any 'oi the toregoing, or the
rendering oi advice in connection with any toarl. lease'or_o_xlansion cl credtt;

2. acting as a real estate broker or _ag'a`nt_, escrow age_nt. property manager or title
agent; `

3. iom'iing, syndicating. seit|ng, operating, administering advising, or rolling up a
limited partnershlp. or limited liability company or similar entity. or real estate
investment trust;

4. the selling of any securities that were neither registered nor approved for sale by the
Company ("sel|ing away")', _ _

5. the insureds' actual or alleged orath written representation promise or guarantee
oi tha past performance orf_utura value of any insurance .or investment product; or

6. performing services in connection with any aspect of msrgsrs. acquisitions.
securities underwritings. restructurings. divestliur`es or investment banking

lV. Limit of Liablilty, Retent|ons and Colnsurance
A. The Limit oi Liabllity stated in item 3. el the Declaralibns ls the limit ot the lnsurer’s

liability for ali Loss arising out ot all Cielms iir_s_l made against tho_lnsureds'during_iha
Policy Period and the Discovery Period (il applicabie); howevar, the Limit or Liabllity for
the Discovsry Period is part of. and not in addition to. the Limit of- Liablllty tor the Policy
Period. il the Limit of Liabiilty stated in item _3. ot the Da_c|aretlons is exhausted by
payment of Loss, the lnsurer's obligations under this Policy shall ba completely 'fultiltad
and extinguishedl

B. The insurer shall only be liable tor that part of covered Loss that is in excess cl the
applicable Retanlion stated in item 4. of the Declaraiions arising from a Claim. such
Retenlton to be borne by the insureds uninsured and at their own risk_

C. Defense Costs are part of. and not in addition to. the Limit of Llabiilty and the lnsurer’s
payment of Defense Costs shall reduce and may exhaust the Lirnit ot Ltab|llty.

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D. Wllh respect to all C|a|ms. the applicable Retent|on shall only apply to the percentage of
Loss which shall be payable by the insurer (as set forth in E. below) and the applicable
Retentlon shall not apply to the percentage cl Loss payable by the Company.

E. To the extent Loss arising from any Claim is covered under the Policy and is in excess
of the applicable Relention. the insureds shall bear uninsured and at their own risk that
percentage of Loss specified as the Coinsurance Percentege _in item 5. ot the
Deciaratlons and the insurer's liability under this Policy shall only apply to the remaining
percentage ot such Loes.

V, Deiense. lndemn|ilcatlon and Cooperatlon

F. The insurer shall advance. al the written request ot the insured. Defense Coats prior to
the line| disposition of a Claim. Such advance payments by the insurer shall be repaid
to the insurer"by the insureds or the Gomp_eny, severally according to their respective
int_eres`.tsl to the extent.lhat the insureds or the Company shall not'be entitled under the
terms and conditions ot this Policy to payment of such Loss.

G. The insureds. and not the insurer, have the duty to defend any Claim made against the
insureds. The insurer shall be entitled to eitectiveiy associate in the defense and the
negotiation of any settlement of any Claim. The insureds shall give the insurer tull
cooperation end shall not admit or assume any llabllity, matte;an_y settlement r:>t'i'erl enter
into any settlement agreement. stipulate to any judgmentl or incur any Defense Coets
without the prior written consent of the lnsurer. Only those settlementsl stipulated
judgments and Deiense Costs to which the insurer has consented shall be recoverable
as Loss under this Policy. The lnsurer's consent shall not be withheld unreasonablyl
provided that the lnsurer shall be entitled to full information and all particulars lt may
request as to such Claim.

Vi. Notice of Claim or Wrongfu| Act

A. As a condition precedent to the obligations of the insurer under this Policyl the insureds
shall give the insurer written notice of any Claim made against an insured as soon as
practicablel but in no event later than either:

1. the end of the Policy Period ortho Discovery Period (li applicabie)‘, or
2. thirty (30) days after the end of the Policy Period. as long as such Claim is lirst
made within the tinai thirty (30) days ot the Policy Period.

B. lt during the Policy i'~'eriodl the insureds become aware of a specch Wrongful Act
which reasonably may be expected to give rise t_o a Claim being made against the
insureds and give written notice to the insurer of the spec|itc-Wrongiui Act. the reasons
for anticipating such a Claim, the ident|tt_as_ot the potential claimants and the insureds
allegedly responsible ior such specitic Wrongfui Act, the amount of actual or potential
demag_es. and the-circumstances by which the insureds ilret became aware 'ot suc_h
specific Wrorr_gfui A`ct, then any Claim subsequently made against the insureds arising
out of such specch Wrongiul Ac't, shall be deemed to have been made at the time such
notice was received by the insurer.

C. The insureds shall give notice to the insurer under this Sectlon as specified in item 9. ot
the Dec|arations.

Vli. Single Ciaimitnterreiated Wrongful Acts
Ali Claims based upon or arising out ot the same Wrongiu| Act or out ot interrelated Wrongiui

Acts shall be considered a single Claim, and each such single Claim shall be deemed to have
been made on the earlier of the lottowing'.

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1. when the earliest Claim arising out oi such Wrongfui Act or interrelated
Wrongfui Acts first was made; or

2. when notice pursuant to Sectlon 6.B. above of a fact, circumstance. or situation
giving rise to such Claim was given.

Vi||. Discovery Period

A. if the Named insured cancels or if the insurer or the Named insured refuses to renew
this Policy. the Named insured shall have the rightl upon payment of an additional
premium of percent of the premium stated in item 6. of the Deciarations, to an extension
of the coverage granted by this Policy with respect to any Claim first made during the
period of time specified in item 6. of the Deciaraiions immediately following the effective
date of such cancellation or non-renewalr but only with respect to any Wrongfui Act
occurring prior to the end of the Policy Period and otherwise covered by this Policy.
Such period shall be referred to as the "Discovery Period". The right to purchase the
Dlscovery Period shall terminatel however, unless the insurer receives within thirty (30)
days of the effective date of cancellation or non-renewai. written notice of such election
together with the additional premium due.

B. The additional premium for the Dlscovery Period shall be fully earned at the inception of
the Discovery Period. The Discovery Period is not canceiabie.

iX. General Conditions
A. Cance|iation and Non-Renewai
1. The insurer may only cancel this Policy for non-payment of any premium when

due by providing written notice to the Named insured stating when, not less than
ten (10) days thereafter. such cancellation shall be effective.

2. The Named insured may cancel this Policy by providing written notice to the
insurer at the address stated in item 9. of the Deciaraiions stating when
thereafter such cancellation shall be effective The insurer shall retain the
customary short rate proportion of the premium; providedl howeverl if at the time
of cancellation the Limit of Liabi|ity has been exhaustedl the entire premium shall
be considered earned. Payment or tender of any unearned premium by the
insurer shall not be a condition precedent to the effectiveness of cancellation,
but such payment shall be made as soon as practicab|e.

3, if the insurer decides not to renew this Policy. the insurer shall provide written
notice to the Named insured at least sixty (60); days prior to the end of the
Policy Period. The notice shall include the reason for such non-renewai. in no
event shall an offer to renew this Policy on terms that involve any change in
Retention amountl premium. Limit of Liabiiity or other terms and conditions
constitute a refusal by the insurer to renew this Policy.

4. Any notices to be given to the Named insured under this section shall be
provided to the Named insured at the last known principal address and to its
insurance agent or broker. The mailing by certified mail of such notice shall be
sufncient.

B. Aciion Aga|nst the insurer

No action shall lie against the insurer uniess, as a condition precedent thereto, there
shall have been fui| compliance with all of the terms of this Policy. nor until the amount of
the lnsureds' obligation to pay shall have been finally determined either by judgment
against the insureds after actual trial or by written agreement of the insureds. the
claimant and the lnsurer.

Any person or organization or the legal representative thereof who has secured such
judgment or written agreement shall thereafter be entitled to recover under this Policy to

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the extent ot the insurance afforded by this Policy. No person or organization shall have
any-right under this Policy to join the insurer as party to any action against the insureds
to determine the lnsureds' ilabi|tty, nor shall the insurer be impleaded by the insureds
or their legal representatives Baniuuptcy or insolvency of the Company or the insureds
shall not relieve the insurer ot any of its obligations he`re`under.

C. Company Takeover

ii during the Policy Period theref is a Company Taireover. then this Policy shall continue
in full force and effect as to' Wrongfui Acts occurring prior to the effective time of the
Company Takeover, but there shall be no‘- coverage afforded under this Policy ior any
actual or alleged Wrongfut Act occurring alter the effective time ot tire Company
Takeover. This Policy may not ba`canceisd_ aner_the effective time ot the Company
Takeo\'rer and the entire premium for this Policy shall be deemed earned as ot_suchltime.
Th'e'Named insured shall give the insurer written notice of th'e Company-Takeov_or as
soon as practicable but not later than 30 days after the effective date ot the Company
Taireover.

D. Mergers and Acqutsitlons

1. il during the'Poltey Fs__rtod the Company acquires another entity py merger -or
by consolidation with a Buhstdtary. acquires ali or'subs:tantla|iy ali of tire assets
oi. another enlityr or creates or acquires a _St_r_bstdlary and ii the assets acquired
through sucht'ren'_saction arel ten percent '(ju_%_) cr less oi`t_he total consolidated
assets of the.i'iarnedinsur_ed as otthe inception o`i this Policy then. subject to aii
ihe__other provisions 'of `_thle.Pciicy, coverage shell automatically apply to any
Claim invoiving'the merged or consolidated entity-. Subsid_ia'_ry. or assets.

2. ii during the Fo|lcy' Period the`Ccmpan'y-acquires another entity't`)y_mer_gsr` or
by'consolidation with a S`ubstdlary. acg'utres__elior substantially `aii o'f tire assets
of another eniiiy.rorcreates or acquires,e _S\ib`sidiary and litho assets acquired
through such transaction are more than ten percent (110%) -Vof _t_he totaif
consolidated assistant th_e blamed insured as oi`tl`te inception of this Policy then.
sub|ect to o|i__lhe:.otha`r provisions of this Policy. no,- coverage shall apply tp_any
Claim_ involving-the merged or consolidated entity. subsidiary _or.'assots unless
the iiar`ned insured provides the insurer with ,iut|`perticuiars ol such transactionl
agrees to any additional premium andlor amendment `oi‘ the provisions ot this
Policy th_e' insurer requires end pays any premium'requirad. '

3. There shall be no coverage for any Wrongfui Act` involving the merged _or
consolidated entityl S'ubstd_iary. _ or assets that occurred prior to the
consummation cf a transaction described in t. or '2. above. or tor any other
Wro_ngfut Aot. whenever occurring which together with a Wrcngiui Act that
occurred prior to- the consummation of such transaction would constitute
tnterreiated'Wrongfut Acts. `

4. There shalibe no.co`ve'ra'ge for any Wrongfui Act of any Subsidlary or any of its
directorsl ofiicers.or employees occurring on or after the date such entity ceases
to be a Subsidlary.

E. Representations

The insureds agree that the Appi|cation is deemed attached to this Policy and
incorporated herein. The insureds further agree that ali statements representations and
information contained in or incorporated into the Appiication_are their representations
end are material to the acceptance of the risk assumed by the insurer under this Policy.
Thts Policy is issued in reliance upon the truth of such representations.

The insureds further agree that in the event of any material misstatementl
misrepresentation or omission in the Application, this Policy witt be void as to any

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insured who knew of such misstatement, misrepresentation or omission and as 'to any
insured to whom such knowledge le |mputed. For the purpose of determining such
imputation, the insureds agree that any knowledge possessed by the Chtef Executi_ve
Oiiicer. the Chief Financiai Ofit_cer, the ln~house Generat Counsei. Risit Manager. the
President or the Chalrman of the Board of Directors or the Named_ insured shell be
imputed to the Company. The knowledge of any of the directors. sincere or employees
shall not be imputed to any other directors, officers or employees

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F. Other insurance

Such insurance as is provided by this P'oiio}r shall apply _or_iiy as excess`ov`er any other
valid and collectible l'r`tsuran¢:¢.=:l unless such other insurance ts written only as specitic
excess insurance over the Limit ‘_ol L_lab_ili_ly provided by this Policy. Thls_ Policy shall
specifically be excess of any othervaiid end collectible insurance pursuant io which any
other insurer has a duty to defend a _Cla|m for which this Policy maybe obligated to pay

Loss.

G. Subrogallon

‘l. in the event oi payment under this Policy. the insurer shall be subrogated lo. the
extent ot such payment to all of the rights oi recovery ot ihs_lnsurods against
any person or organization The insureds shall execute-and deliver ali papers
and instruments required and shall end do`whatever else is necessary to enable
the insuror effectively to bring suit in their name and otherwise secure such
righls. The insureds shall do nothing`to prejudice any such rights

2. Any amount recovered aiter paymentlunder this Policy shall be apportioned in
the inverse order oi payment`io the extent of the actual paymenl. The expenses
incurred in obtaining any such recoveries shall be apportioned in the ratio oi the
respective recoveries `

H. Assignmant

This Policy and any and ali rights hereunder are nol assignable without the written
consent of the |nsurer.

t; Entire Agreement

By acceptance of this Policy. the lnsureds and the insurer agree that this Policy
(inctudlng the Appllcatton) and any written endorsements attached hereto constitute the
entire agreement between the parties.

J. Coniormity to Statute_

Any terms of this Policy which are in conflict with the terms of any applicable laws
construing this Policy are hereby amended to conform to such laws.

t<. Authorization

The insureds agree that the Named insured will act-_on'b'ehaii of all of the insureds with
respect _io the payment or return of premium. lite receipt and acceptance of any

endors`e`rhents_. the cancellation ot the Policy. the negotiation of renewai. and the giving
and_receivlng o_i any notice provided ior'by the terms and conditions oi this Policy.

L. Woridwide Territory_

The Policy shall appiy to Clalms made against the insureds anywhere in the worid.

X. Servlce of Suit

ti the insurer fails-to pay any amount claimed to be due under this Policy. the lnsurer. at the
request cl any of the insuredsl witt submit to the jurisdiction ot any _court_-olcompeterit jurisdiction
within the United Siates, and witt comply wi h all requirements necessary to!.give suchcourt
jurisdiction Nothlng in this Ciause constitutes or should be understood to constitutes waiver ot
the insurer’s rights to commence en action in any Court oi competent ]urisdiclion in the United

PL|C 051 0408 t Pago 11 ol12

 

 

 

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Slates, to remove an action to a United States Dlstrict Court. or to seek a transfer of a case to
another Court as permitted by the laws of the United States or of any Staie in the United Stales.

The insurer hereby designates the_Super|htendent. Commlssioner or Dlrector oi insurance or
similar officer specified by law for that `purpose. or his or her successor or successors in ofiice, as
its true and lawful attorney upon whom may be served any lawful process in any action, suit or
proceeding instituted by 'or on behalf of any insured under the Policy. Upon receipt ol process
iawfuily-served.'tha_l_ official may'maii such process to Claim Manager- Professional Liabillty al the
address stated at item 9. of'the. Deciaratlons.

Xl. Headlngs

The descriptions |n the headings and any subheadlng of this policy ilnciuding any titles given to
any endorsement attached hereto) are inserted solely for convenience and cio not constitute any

part of the terms or conditions hereof.

TH|S POL]CY SHALL NOT BE VAL|D UNLESS COMPLETED BY THE ATTACHMENT HERETO OF A
DECLARAT!ON PAGE AND S|GNED BY A DULY AUTHOR|ZED REPRESENTAT|VE OF THE

|NSURER.

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lN WlTNESS ENDORSEMENT

CATL|N SPECIALTY |NSURANCE COMPANY

ADM|N|STRAT|VE OFFlCE: 3340 Peachtree Road N.E.
Suite 2950
Atlanta. GA 30326

STATUTORY HOME OFFiCE: 160 Greentree Drive
Suite 101
Doverl Delaware 19904

lt ls hereby agreed and understood that the following in Witness Clause supercedes any and all other
ln Wiiness clauses in this policy.

All other provisions remain unchanged.

IN WlTNESS WHEREOFl the Company has caused this policy to be executed and attested, end1 if
required by state law, this policy shall not be valid unless countersigned by a duly authorized

representative of the Company

 

il»i~t ?..»»-_~

 

 

Rlchard S. Banas Steven C. Adams
President Secretary

ABAP 401 OBOT

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'\-f'

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

sEvac-E_ oF sun

The following service of suit provision is added and replaces any other Service ol Suit provision contained

elsewhere in this poilcy:

The Superintendeni, C`smrnissioner or Direcior of insurance ot the Siaie is hereby designated the
true and lawful attorney of the_Compeny upon whom may be served eli lawful process in any
aciion. suit or proceeding arising out of this_poiicy. The Company further designates:

Steve Ad amc
Legai Counsei
3340 Peechiree Road N.E.
Suite 2950
Atianta, GA 30326

as its agent to whom such process shall be torwarded by the Director of insurance.

ector of the illinois Dtvision of insurance and
whom may be served any lawful process in
insured or any beneficiary hereunder

For illinois exposures. the lnsut'er further designates the Dir
his successors in otfic_e". as its tree and iawi’ui attorney upon
any action, suii;-;or proceeding instituted by or on behalf ot the
arising out 'o'f ari_`ii|lnois exposure and this contract of insurance.

Aii other ierms. conditions and exclusions remain unchanged

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY

CRED|T RATING TR|GGER CANCELLAT|ON ENDORSEMENT

 

in consideration of the premium charged. it is understood and agreed that Sectlon iX. Gonerai
Cond|tions A. (Cancei|ation ‘and Non-Renewai) ot this Policy is amended by adding the following

paragraph:

5. Notwiih'standtng the foregoing in therevent that a iinencial.sirength rating is issued ,(1)
below A-'by A.i.li_. Best Co.. or-(2)'t;)eiow BBB- by'_S'tendard'_& Poor’s'Reiings Services'. for
the insurer thereinsftar referred to as a"_Gredit i-'_tet_lng Downgrsde*). this Policy may be
cancelled by the Named insured by mailing written prior notice to the insurer or by
surrender of this Policy to the insurer or its authorized written_agent.___il this Policy is
canceled by the Named insured :wiihin thirty (30) days after such Credii Ratlng
Downgrede. the insurer shall retain the pro rate proportion of the premium herein '

Aii other terms, conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise siated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the poiicy.)

Endorsement Effective: . Policy No.: __ _Endorsement No. __1__
lnsured; . . . Premium: 77

 

insurance Company:' '_ - _ _-
Authorized Signature: _

Puc 400 oros Pa'ge 1 or 1

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

AMENDED DEF|N|T|ON OF APPL|CAT\ON ENDORSEMENT

 

 

in consideration of the payment of the premium for this Policy. it is hereby understood and agreed that the
Policy is amended as follows:

Sectlon ||. Def'initions A. is amended by deleting subsection 2. and replacing it with the ioliowing:

2. to the extent made by _or required of the ineureds:

any public_documen`ts-hied within twelve (12) months of the inception date-of this
Policy by the Nan`ted insured with the Securities and_Exchang'e C_ommlssion or'
any similar lederet. siate. local or foreign regulatory bodyi and any other written

public statement or certification required by law to be made by the chief

executive-otltcer. chief itnanciai_ officer or other executive oince_r either _Narned
insured within twelve (12) months ol the_ inception date of this Policy regarding
the accuracy. compieteness'or adequacy ot such ineurad‘s tinanciat statements,'

SEC iiiings. or intemei controis;

whether or not such public documents, statements or certifications are furnished to the
lnsurer.

Ait other terms, conditions and exclusions remain unchanged

This endorsement changes the policy to which it is attached and is effective on the date issued unless

otherwise stated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the poiicy.)

Endorsemeni Effeciive:

lnsured;

._ Policy No._: _ Endorsemeni No. __2_

 

insurance Company:

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Premium: _ _

 

Authorized Signature:

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

AMENDED DEF|N|T|ON OF |NSUREDS ENDORSEMENT

 

 

in consideration ot the payment of the premium for this Policy. it is hereby understood and agreed that the
Policy is amended as follows:

Sectlon ii. Detinitions F. is amended by addition of the following subsection'.

3. the lawful spouse (whether such status is derived _by reason of statutory lawl
common law or otherwise o'l any applicable lurisdiciion' in the worid} .o_l any
person identified in 2. above for a Claim arising solely out of his or her staius'o`s
the spouse of that person. including a Claim that seeks damages recoverable
from marital community property. property jointly held by the spouse and that
person. or property transferred from that person to such spouse; provided.
however. no coverage shall be provided under this Policy for any Claim for any
actual or alleged Wrongful Act of such spouse.

A|i other terms, conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise stated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the policy.)

 

 

Endorsemeni Etfective: __ Policy No.: ___________ Endorsemeni No. _3___
insured: Premium: . ,
insurance Company:

 

Author|zed Signature: _ _ _

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

AMENDED DlSHONESTY/PERSONAL PROF|T

EXCLUS|ON ENDORSEMENT

tn consideration of the payment of the premium for this Policy. ii ls hereby understood and agreed that the
Policy is amended as follows: _

` Sectlon lll. Exotuslons A. and B. are deleted and replaced by the iotlowlng:

A. brought about or contributed to by the gaining in fact of any profit or advantage to which an
insured was not legally entitled or the committing in fact of any criminal act;

B. brought about or contributed to by the committing in fact of any deliberately fraudulent act or
deliberate conflict of lnterest;

lt such profit or advantage, criminal or deliberately fraudulent actor deliberate conflict of interest

is established by any judgment or tinal'ad]ud|caiton:

provided..however, that for the purpose _of

determining the applicability of Exciusione A. ahd Ei,, the-Wrongfui Ac_t of any natural person
who was, now is or shall be a duly elected or appointed dfrector. officer or employee cf the
Company shall not be imputed to any other director. officer or-ernpioyee, but such Wrongfut Aof
shall be imputed to the Company;

Ali other tenns, conditions and exclusions remain unchanged

This endorsement changes the policy to which it is attached and is effective on the date issued unless

otherwise staled.

(The tnfon'nation below is required only when this endorsement is issued subsequent to
preparation of the poitcy.)

Endorsemeni Effective:
lnsured:

Policy No.: Endorsemeni No. _4___
Premium;

 

 

 

insurance Company:

PLiC 404 0709

Authorlzed Slgnalure:

 

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

AMENDED SUBROGAT|ON ENDORSEMENT

in consideration of the_payment of the premium for this Policy. it is hereby understood and agreed that the
Policy is amended as follows:

Secticn iX. Generai Condltions G. (Subrogat|on) is deleted in its entirety and replaced with the following:

‘i.

in the eveni_ot-payrnent_ under this Policy. the insurer shaft be subrogated to the extent of
such payment to all o`f the rights of recovery of the insureds against any person or
organizationl The insureds lshall execute and deliver ali papers and instruments
required end shaft and do whatever else is necessary to enable the insurer effectively to
bring suit in their name and otherwise secure such rights. The insureds shall do nothing
to prejudice any such rlghis.

Any amount recovered etter payment under this Policy shall be apportioned in the inverse
order of payment to the extent of the actual payment. The expenses incurred in obtaining
any such recoveries shall be apportioned in the ratio of the respective recoveriesl

in no eventl hovi'everl shall the insurer exercise its rights of subrogation against an
insured under this Policy unless such insured has been convicted of a deliberate
fraudulent actl or been determined by any final adjudication to have obtained any profit or
advantage to which such insured was not legally entitied.

Ali other terms, conditions end exclusions remain unchanged

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise siated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the policy.)

Endorsemeni Et‘fective:' Policy No.:_ Endorsemeni No= ___5__

lnsured:

Premium;`

 

insurance Company'. j _

PLIC M002 0709

Authorized Signature:

 

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THiS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

AMENDED NOTtCE OF CLA|M OR WRONGFUL ACT
ENDORSEMENT

in consideration of the payment of the premium for this Policy. lt is hereby understood and agreed that the
Policy is amended as follows:

Sectlon Vi. Notlce of Claim or Wrongfut Act is amended by replacing the phrase 'thirty (30)
days' wherever it appears in subsection A.2. with the phrase "‘s|xty (60) ciays.‘l

Ali other terms. conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise stated.

tThe information below is required only when this endorsement is issued subsequent to
preparation of the poitcy.)

 

 

 

 

Endorsemeni Effeciiv'e: _ __ Policy No.: . Endorsemeni No. _6__
lnsured: Premium:
insurance Company-z
Authorized Signeture:
PLic Moca 0709 Page t or 1

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

NUCLEAR ENERGY EXCLUS|ON

 

in consideration of the premium charged, lt is understood and agreed that the Policy is amended by the
addition of the following:

This Policy provides no coverage in connection with any Ciaim:

A. ' arising out of, based upon or in consequence ofl directly or indirectly resulting from or in any
way involving Hazardous Properties of Nuclear iiiiateriai, including but not limited to:

` 1. Nucleer iiilaterlai located at _any' Nucleer liability owned by_. or operated by or

on behalf of any insured or discharged or-dispersed`thereirom; or

2. Nt.rclear lillaterlai contained in Spent i`-'ue_l or Was_te which was or is at any time
possessed handiad. used._process'ed. stored. transported or disposed of by or
on behalf of any lnsured; or

3. the tumishing by any insured of services. materials, parts or equipment in
connection with the planningl constructionl maintenancel operation or use of any
Nuciear Facllity; or

4. claims for damage or other injury to any of the insureds or any of their
ehareholders, partners or stakeholders, which arise out of, are based upon or in
consequence of, directly 'or indirectly result from, or in any way invoive. the
Hazar`doua Prope,rtles of Nuciear Material.;

B. which is insured under a nuclear energy liability policy issued by Nuclear Energy Liabillty
insurance Assoc|ation. Mutua| Atomlc Energy Liabillty underwriters or Nuciear insurance
Association of Canada. or would be insured under any such policy but for its termination
or exhaustion of its limit of iiability; or.

C. with respect _to which _(a) any person or organization is required to maintain financial _
protection pursuant to the Atomtc Energy Ac_i o'i 1864. or any law amendatory thereofl or
(b) the insureds are. or had this policy not been tesu'e'd. would be entitled to indemnity _
-iro`m the United Siates of America. or'ar_r`y agency'ii_'iereof. under any agreement entered
into with the United Siates of rtimerical or any agency,`thsreef. or with any person cr
organization - - ` `.'

For the purpose of this Endorsemeni the words appeaan in bold-face have particularized meanings as
defined beiow:

Hazardous Properttes include radioactive, toxic or explosive properties;
Nuclear iillaterla| means Source Materiai. Specla| Nuclear Materiai or Byproduci Materiai;

Source l‘rtataria|l Speclal Nuciear f¢‘iateritall and Byproduct tiiiateriat have the meanings given
them in the Atomic Energy Act of 1954 or in law amendatory thereof;

Spent Fue| means any fuel element or fuel component. solid or liquidl which has been used or
exposed to radiation in a Nuclear Reactor;

Waste means any waste material (t) containing Byproduct Meterlal and (2) resulting from the
operation by any person cr organization of any Nuciear Faciiity included within the definition of
Nuclear Faci|tty under paragraph (a) or (b) thereof;

Nuciear Faciiity means:

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‘i. any Nucieer Reactor;

2. any equipment or device designed or used ior:
a. separating the isotopes of uranium or piutonium:
b. processing or utilizing Spent Fu_el; _or _
c. (3) handling, processing-cr packaging Waste:
3. any equipment cr' device used for the processing fabricating or ailoying ot Speciei

N_uclenr Materiai if at any time the total amount of such material in the custody of the
insureds ,et the premises where "such equipment or device is located consists of or
contains more than 25 grams of plutonium or uranium '233 or any combination ihereof. or
more than 250 grams of uranium 235; or

4. any siructure, basin. excavation. premises or place prepared or used for the storage or
disposal of Waste, end includes the site on which any of the foregoing is iocated. ali
operations conducted on such site and all premises used for such operations;

Nuctear Reactor means any apparatus designed or used to sustain nuclear iiss|on in a self-
supporting chain reaction or to contain a critical mass ot lissionebie meteriai.

Ali other provisions ot this Policy remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless
othenvise stated.

(The information below ls required only when this endorsement is lssued subsequent to
preparation et the poiicy.)

 

 

Endorsemeni Efleciive 7 Policy No. _ _ Endorsement No. 7
insured _ " _ Premium _ _ _
insurance Company ' _ _ _Auihorized Signature _ _ o

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

'AMENDED MERGERS AND ACQU|S|T|ONS
THRESHOLD ENDORSEMENT

 

in consideration of the payment of the premium for this Policyl it is hereby understood and agreed that the
Policy is amended as follows:

Sectlon iX. Generai Conditlons D. Mergers and Acquislttons is amended by replacing the
phrase 'ten percent (10%)' wherever lt appears therein with the phrase l'twenty-Iive (25%).'

Aii other terms. conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise slated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the policy.)

Endorsemeni Effeciive: Policy No.: _ Endorsemeni No. 8

lnsured; Premium:

 

insurance Company:

 

Authorized Slgnature: 7 . ._
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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT GAREFULLY.

AMEND:ED D|SCR|M|NAT|ON ENDORSEMENT

in consideration ot the payment ot the premium for this Policyl it is hereby understood and agreed that the
Policy is amended as follows:

Sectlon lll. Eirrc|usionsl Subsection S. is deleted in its entirety and replaced with the following:

S. for any discrimination; provided. however. this exclusion shall not apply to any Claim by
any policyholder of the insured for any discrimination in the lnsured's claims handling or
adjusting. .

Ail other terms, conditions and exclusions remain unchangedl

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise stated.

(The information below ls required only when this endorsement ls issued subsequent to
preparation of the policy'l

Endorsemeni Effective: j Policy No.: _ Endorsemeni No. __9_
insured: Premium: _
insurance Company:

 

Aulhorized Signature: , , s

PLic 603 0110 eager orr

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

AMENDED CO|NSURANCE ENDORSEMENT

 

in consideration ot the payment of the premium for this Policyl lt is hereby understood and agreed that the
Policy is amended as follows:

Sectlon iV. Limit ot Liabilltyl Retentions and Coinsurance. Subsection E. is deleted in its entirety and
replaced with the following:

E. To the extent Loss arising from any Claim is covered under this Policy and is in excess
of the applicable Retention. the insureds shall bear uninsured and at their own risk:
‘l. 20% of such Loss arising out ot any Claim that is commenced as a putative
class action or later amended to seek class action status; or
2. that percentage of such Loss specified as the Coinsurance Percentage ln item 5.
of the Declarattons arising out cf any Claim not specified in Subsection E.l.
above;

and the insurer’s liability under this Policy shall only apply to the remaining percentage
of such Loss

Ail other terms, conditions and exclusions remain unchangedl

This endorsement changes the policy to which lt is attached and ls effective on the date issued unless
otherwise stated.

(The infomtatlon below is required only when this endorsement is issued subsequent to
preparation of the policy.)

Endorsemeni Ettective: Policy No.: __ _ Endorsemeni No. __10

insured: - Premium:

 

insurance Company:

Authorlzed Signature:

 

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TH|S ENDORSEMENT CHANGES THE POL|CY. FLEASE READ iT CAREFULLY.

AMENDED DEFIN|T|ON OF CLA|M ENDORSEMENT

 

in consideration of the payment ot the premium for this Policy. it is hereby understood and agreed that the
Policy is amended as lollows:

Sectlon i|. Deftnitlons. Subsection B. is deleted in its entirety and replaced with the foilowlng:

B. 'Ctaim' means'.

a written demand for monetary or non-monetary relief made upon an lnsured;

a civil or criminal proceeding (inc|udlng an arbitration or mediation proceedings)
for monetary or non-monetary relief against an insured which is commenced by
service of a complaint or similar pleading or return of an indictment or information
in the case of a criminal proceeding;

any administrative or regulatory proceeding for monetary or non~monetary relief
against an insured which is commenced by receipt of a notice of charges; or

a civill criminall administrative or regulatory investigation of an insured lor a
Wrongtul Act, but only after such insured ls ldentined in writing by the
investigating authority as an entity or person against whom a proceeding
described in 2. above may be commenced.

Al| other terms, conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and is effective on the date issued unless

otherwise stated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the policy.)

Endorsemeni Effecttve:
lnsured;

Policy No.: Endorsemeni No. ____11___

W._,_

Premium:_ _ _ -

 

insurance Company:

 

PLlC 'M052 0710

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Authorized Signature:

 

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

AMENDED REPRESENTAT|ONS ENDORSEMENT

 

 

ln consideration of the payment of the premium for this F'oiicyl it is hereby understood and agreed that the
Policy is amended as follows:

Section tX. General Conditione, Subsection E. ls deleted in its entirety and replaced with the foltowing:

E. Represeniations

The insureds agree that the App|lcatlon is deemed attached to this Policy and
incorporated herein. The insureds turther agree that ali statements. representations and
information contained in or incorporated into the Application are their representations
This Policy is issued in reliance upon the truth of such representations

The insureds further agree that in the event -oi any material misstatement.
misrepresentation or omission |n,ihe_ Applicatton, this Policy will be void as to any

insured who knew of such misstatemeni,`misrepresentation 'or`omis

sion and as'to any

insured to whom such knowledge is'ir_"ripiutedi For th_e purpose oidete_rmintng such
imputetlon,_-ihe insureds agree that any knowledge possessed by the-Chief` Executive
Dfi‘icfer. the Chiet Financia`t_ Qincer or the tn-h_ouse General Gounsei of the _Narned
insured shall be imputed to the Company. The knowledge loi.an`y 'oi the directors.
oilicers. or employees-shell not be imputed-to any other-directors ofticers-, or employees

Aii other termsl conditions and exclusions remain unchanged

This endorsement changes the policy to which lt is attached and is effective on the date issued unless

otherwise stated.

iT he information below is required oniy when this endorsement is issued subsequent to
preparation of the policy.}

Endorsemeni Ef'feciive:
lnsured;

Policy No.: _ Endorsemeni No. __12___
Premium:

 

insurance Company:

,d__.___»

 

PLlC MOSZJ 0710

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Authortzed Signature:

 

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TH|S ENDORSEMENT CHANGES THE POLtCY. PLEASE READ |T CAREFULLY.

AMENDED SEVERABIL|TY PROV|S|ON ENDORSEMENT

in consideration of the payment of the premium for this Policy. it is hereby understood and agreed that the
Policy is amended as follows:

The unnumbered paragraph following Sectlon ili. Exclusions, Subsection Ei. is deleted in its entirety and
replaced with the following:

provided-that for'ihe purposes ot determining the applicability of Excius|ons A. and B., the
Wrongfu`t Act of any natural person who was, now is or shall be a duly elected or
appointed director. oi_iicer, or employee of the Company shall not be imputed to any
other_dir_ector, ofiicer_, or empioyee. but the Wrongfu| Act(s} oi the Chief Execuilve
Ofi'rcer, Chief Finencial Ofticer. and in-house General Counsei shall be imputed to the
Company.

All other ierms. conditions and exclusions remain unchanged

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise.stated.

(The information below is required only when this endorsement is issued subsequent to
preparation of the policy.)

Endorsemeni Eifective: Policy No.: , .. _ Endorsemeni No. _13__
lnsured; _ 7 7 - -- . Premium:

 

insurance Company:'

Authorized Signature:

 

PLlC M054 0710 Page1 of1

Case 3:12-cv-00484 Document 1-4 Filed 05/16/12 Page 46 of 104 PagelD #: 70

 

TH|S ENDORSEMENT CHANGES THE POL|CY. FfLEASE READ |T CAREFULLY.

DELETION OF EXCLUS|ON ENDORSEMENT

 

in consideration of the payment of the premium for this Policy. lt is hereby understood and agreed that the
Policy is amended as follows:

Sectlon itl. Exciuslons V. is deleted.

All other terms. conditions and exclusions remain unchanged

This endorsement changes the policy to which it is attached and is effective on the date issued unless
otherwise stated

(The information below is required_on|y when this endorsement is issued subsequent to
preparation of the poiicy.)

 

Endorsemeni Etiective'. , Policy No._: , Endorsemeni No. _14___
lnsured; _ _ Premium:
insurance Company:

 

 

Auihorized Signature:

 

PLlc 406 ores Paga 1 or 1

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PR|VACY POLICY

Catlin insurance group {the “Compenies"i, believes personal information thai we collect about our customers.
potential customers, and proposed insureds listened to-coitectiveiy in this Privacy Policy as "cusiomers"] must be
treated with the highest degree of confidentiality F'o`r this reasonr_and in compliance.wiih the Tiile V of the
Gramm-Leach-Eilliey Act ["GLBA']. We have developed a _Pi|vacy Policy that applies to a|i_oi our companies For
purposes of our Prlvacy Policy. the term "personai inion'iiatio'n"inciudes ali information we obtain about a
customer and maintain in a personally identifiable way. in order to assure the confidentiality cl the personal
information we collect and in order to comply with applicable iaws. eli individuals with access to personal
information about our customers are required to follow this policy.

Our Privacy Promise

Your privacy and the confidentiality of your business records are important to us. information and the analysis of
information is essential to the business of insurance and critical to our ability to provide to you excellent. cost-
efiective service and products. We understand that gaining and keeping your trust depends upon the security
and integrity of our records concerning you. Accordingly, we promise that:

i. We will follow strict standards of security and confidentiality to protect any information you share with us or
information that we receive about you;

2. We will verify and exchange information regarding your credit and financial status only for the purposes of
underwriting, policy administrationl or risk management and only with reputable references and
clearinghouse services;

3. We will not collect and use information about you and your business other than the minimum amount of
information necessary to advise you about and deliver to you excellent service and products and to

administer our business; _

4. We will train our employees to handle information about you or your business in a secure and confidential
manner and only permit employees authorized to use such information to have access to such iniormation;

5. We witt not disclose information about you or your business to any organization outside the Catlin insurance
group of Compan|es or to third party service providers unless we disclose to you our intent to do so or we are
required to do so by iaw;

6. We witt not disclose medical information about you. your employees. or any claimants under any policy of
insurance, unless you provide us with written authorization to do so, or unless the disclosure is for any
specific business exception provided in the law;

7. We will attemptl with your heip, to keep our records regarding you and your business complete and accuraie.
and will advise you how and where to access your account information [uniess prohibited by iaw]l and will
advise you how to correct errors or make changes to that lnformatton; and

B. We witt audit and assess our operations, personnel and third party service providers to assure that your
privacy is respected

Col|ection and Sources of information

We collect from a customer or potential customer only the personal information that is necessary for [a]
determining eligibility for the product `or service sought by the customer. [b] administering the product or service
obtained and |c] advising the customer about our- products and services The information we collect generally
comes from the following sources:

Submission - During the submission process, you provide us with information about you and your
business, such as your namel address, phone number, e-maii address, and other types of personal
identihcatlon information;

Ouotes - We collect information to enable us to determine your eligibility for the particular insurance
product end to determine the cost of such insurance to you. The information we collect will vary with the
type of insurance you seek;

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NOTtCE TO POi_iCYHOLi:`¢E??.F$

 
   

Transacl|ons - We will maintain records of ali transactions with us. our affiliatesl and our third party
service providers. including your insurance coverage selectionsl premiums. billing and payment
information, claims history. end other inion'nation related to your account;

Ciaims - if you obtain insurance from us. we 'wi|i maintain records related to any claims that may b’e
made under your policies. The investigation of a claim necessarily involves collection of a broad range of
information about many issuesl some of which does not directly involve you. We will share with you any
facts that we collect about your claim unless we are prohibited by law from doing s'o. The_'proce_ss 'oi
claim investigati¢:inl evaluationl and settlement also involvesl however, the collection of advice. opinions.
and comments from many peop|e, including attorneys and expeds. t_o ‘ald the claim specialist in
detennin|ng how best to handle your ciaim. in order _to protect the legal and transactional confidentiality
and privileges associated with such opinions. comments and advice. we witt not-disclose this information

to you; and

Credil and F|nanciai Reports - We may receive information about you and your business regarding your
credil. We use this inion'naiion to verify information you provide during the submission and quote
processes and to help underwrite and provide to you the most accurate and cost-effective insurance

quote we can provide.

Retention and Correction of Pegonai information

We retain personal information only as long as required by our business practices and applicable |aw. if we
become aware that an item of personal information may be materially inaccuratel we will make reasonable effort
to re-verify its accuracy and correct any error as appropriate

Storage of Personat informgtion

We have in place safeguards to protect data and paper files containing personal lnforrnation.

Shar|ngiDisclosing of Personal information

We maintain procedures to assure that we dc not share personal information with an unaffiliated third party for
marketing purposes unless such sharing is permitted by iaw. Personal information may be disclosed to an
unaffiliated third party for necessary servicing of the product or service or for other normal business transactions
as permitted by iaw.

We do riot disclose personal information to an unaffiliated third party for servicing purposes or.]olnt marketing
purposes unless-a contract containing a7confidentiaiityfnon»d|s_ciosure' provision has-been signed by `us and_ihe
third party-.7 Uniess a consumer consents. we do not disclose 'cons_umer»credit repoit' type information obtained
from an application or o credit report regarding a customer whoappii_es for a financial product t`o'ran'y unaffiliated
third party for'the` purpose of serving ass factor tri establishing a consumers etiglbiliiy'ior credii, insurance or
employment ’Consumor credit re`pon type infoiinatfon’ means such things as net wo_nhl credit worlhlness.
iiieotyie=inforrnetipndipii'otlng,'skydivins. etc.-]` eolv`e‘ncy..etc. `We also do not disclose loany unstn|ia_ted third party

a'policy"or account number for use in marketing We may share .with our affiliated companies lni`ormalmn that
relates to_our experience and transactions with~th'e:customer.

 

We do not disclose nonpublic personal health information about a customer unless an authorization is obtained
from the customer whose nonpublic personal information is sought to be disclosed Howe'ver. an authorization
shall not be prohibited restricted or required for the disclosure of certain insurance functionsl inciudlng. but not
limited to, claims administration. claims adjustment and management, detection, investigation or reporting of
actual or potential fraud, misrepresentation or criminal activity, underwritingl policy placement or issuance. loss
control andior auditing.

Access to Your information
F'NAP 002 0209 Page 2 of 3

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F\ii:§iif:§ TO P{)Liij`r'i'l§'..?tcl.?if;i`~ "-`

   

Our employees. employees of our affiliated companiesl and third party service providers will have access to
information we collect about you and your business as is necessary to effect transactions with you. We may also
disclose information about you to the following categories of person or entitles:

Your independent insurance agent or broker;

An independent claim adjuster or investigatorl or an attorney or expert involved in the ciaim;

Persons or organizations that conduct scientific studiesl including actuaries and accountants;

An insurance support organization:

Another insurer if to prevent fraud or to properly underwrite a risic;

A state insurance department or other governmental agencyl il required by federai. stale or local laws: or

Any persons entitled to receive information as ordered by a summonsl court order, search warranl, or
subpoena.

Violation of the Privgcy Policy
Any person violating the Privacy Policy will be subject to disclpiine. up to and including iennination.

For more information o'r to address questions regarding this privacy stetemenf. please contact your broken

PNAP 002 0209 Page 3 of 3

Case 3:12-cv-00484 Document 1-4 Filed 05/16/12 Page 50 of 104 PagelD #: 74

 

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U.S. TREASURY DEPARTMENT'S OFF|CE OF
FORE|GN ASSETS CONTROL (“OFAC”)

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions
of your poiicy. You should read your policy and review your Deciarations page for complete
infonnaiion on the coverages you are provided.

This Policyholder thice provides information concerning the possible impact on your insurance
coverage provided under your policy due to directives issued by.OFAC. P|eese read this Policyholder
Notice careluliy.

OFAC administers and enforces economic and trade sanctions based on US foreign policy and
national security goals based on Presidential declarations of "nafionai emergency." OFAC has
identified and listed numerous: `

Foreign agents

Front organizations
Terrorists

Terrorisf organizations
Narcotics traffickers

as "Spec|a||y Designated Nationals and Blocked Persons." This list can be found on the United Siates
Treasury's web site - http:lfwww.lreas.govfofac.

in accordance with.OFAC regulations, if i_t is determined that you or any other lnsured. or any person or
entity claiming the benefits of this insurance has violated US sanctions law or isa-a Special|y
Designated Natio'nai and Biocited Person, as identified by OFAC, this-insurancewii| be considered a
blocked or frozen-contract and all provisions o'i this insurance 'wli| be immediately subject to OFAC.
When an insurance policy is considered to be such a biocked or'fr_ozeri 'contraot`. neither payments nor
premium refunds may be made without authorization from OFAC. Other limitations on the premiums
and payments may also appiy.

PNAP 003 1208 Page 1 oi'l

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TENENESSEE

FOR iNFORMAT|ON, OR
TO MAKE A COMPLA\NT, CALL: _

‘i-BT?-CATLlN-US
Ol'
1-877-220-6466

Catlln, lnc.
1600 Market Street,

sulie 1316
Phlladelphia, PA 19103

PNAP 025 0108 ` Page 1 of 11

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NOTtCE TO ?OLiC`r‘iiL"jLé_'_?ET..l

 

CLAIMS NOT|CE

All claims must be reported to Catlin at:

Catlin

3340 Peachtree Road N.E.
Suite 2950` -

Atlanta, GA 30326

E-mail: catlinclaimsgt@catlln.com
Phone: 404-443-4910\808~443-4910

Fax: 404-443-4912

PNCL N01 0509 Page 1 Of'i

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EXHIBIT B
SETTLEMENT DEMAND LETTER

[attached]

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May 6. 2011

.teffrey Humphrles, Esq.
O'i-lara Law Flrrn

4811 Beach Blvd., #303
Jaci<sonvlllel FL 32207

Re: Pittman v. Minson

Dear Mr. Humphries:

Enc|osed please find the economic reports for Justin and Chelsea Pittman. We had
previously provided you with the neurologist and neuropsychologlst reports as well for
both. As the records demonstrate, Justin and Chelsea have sustained catastrophic
brain In]urles with significant economic damages At this time, we make a demand for
settlement to your for $14,000.000.00 for Justin Pittman; $7.000,000.00 for Chelsea
Pittman end $500.000.00 for Wendy Pittman (consortium cla|m). '

Thank you for your tientlon and cooperation |n this matter.

 

Enclosures

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t 934 °".`.`:; '_“.‘;31`1 :i 3.," tf_`.-i"\`Ai ‘._AW E.`? e.‘.=' .‘§)'-}`."'. t ¢,'.‘.J 703 1"3.-‘€“.
flat A".’ -`¢,\l`\_rv Law F_l'¢z-. vs“Hv.gii-;'ai.`aw.co;n

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EXHIBI'I` C
FAC MAY 27, 2011 LETTER

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BARNES &THORNBURG LLP F,___
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May27, 2011 i»-l\l,\,\-_i.,h ~._,;'Eh"‘

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`__._._.,._ ,__ _.<L__,__i`-" if E¢i‘-':`

Via E-maii to rdion@ioekton.cr:g;r_
and Vla Facs_ilnile to: QlSl 873-0553

Raymond C. Dir)nl Esq.

Vice President

insurance & Claims Counsei
I_.ockton insurance Brokers, LLC
725 South Figueroa Strect

35"1 Floor

Los Angeles, CA 900|7

Re: Matter: Fr'rs! Accep!ance lrrsrrmnce Corpor'air'on -
Norr'ce of Circumsrances
Insurer: Catlin Specia|ty lnsurance Company (“Catiin")
Policy #: ICP-91968-0710(“Policy")

Your Claim #: 102817

Dcar Mr. Dion:

As you may recali, I represent First Acccptance Corporation (“FAC") and, on its behali`,
hereby request and instruct Lockton Insurance Brolters to report thc following “circumstanccs"
to Catlin Specialty Insurance Company on or before the expiration oi` the current Policy on July
1,2011, 12:0] AM (local time at Nashvilie, Tennessee).

The Notice of Circumstanccs below are to be reported pursuant to Section VI “Notlcc of
Claim or Wrongf`ul Act" under the above-referenced policy.

Pittman v. Mr'nsorr

This case involves a motor vehicle accident whereby the insured driver Josh Minson was
involved in a motor vehicle accident with another vehicle while the Minson vehicle was
allegedly being chased by a third vehicle. Justin and Chelsea Pittman were passengers in the
insured Minson vehicle. As a result ofthe accident, Justin and Chelsea Pittman claim permanent
brain injury with significant cognitive deficits resulting in severe limitations in their ability to
work, drive and function socially.

Subscquent to notice of the accident, thc lnsured‘s claim adjuster tendered the limits to
all claimants and instructed the claimants to work it out among themselves as to how the limits
would be divided. The claim was later assigned to defense counsel who arranged for a global

li
Case 3:12-0\/- -00484 Document 1- 4 Filed 05/16/12 Page 57 of 104 PagelD #: 81

`l.

 

Raymond C. DiOn,-Esq.
May 27, 201 l
Page 2

settlement conference with all claimants The day before the global settlement conference,
plaintiffs Justin and Chelsea Pittman wilhdrew, indicating that the timing of setting up the global
settlement conference was too slow and that the lnsured should not have settled other claims
using the policy limits before settling with the more seriously injured Pittman claimants.

Up until May 6, 201 ll the Pittmans' counsel had not provided the insured with any
formal settlement demand on behalf of his clients. On May 6, 201 l, plaintiffs‘ counsel provided
the attached letter demanding $21,500,000 on behalf of the Pittmans ($I4,000,000 for Justin
Pittman, $7,000,000 for Chelsea Pittman, and $500,000 for Wendy Pittman, Justin and Chelsea’s
mother). As the attorney’s letter references a demand well in excess of the driver’s insured
limits, FAC reasonably expects the plaintiffs will bring a bad faith and!or negligent claims
handling claim against FAC for allegedly failing to offer policy limits timely to the Pittman
plaintiffs. The insured now reasonably expects the alleged Wrongful Acts of failing to offer
timely the policy limits and settling the claims of other less-injured claimants utilizing the policy
limits may give rise to a Claim under the Policy. The identities of the potential claimants include
Justin, Chelsea and Wendy Pittman, and Jarnes and Joshua Minson. The lnsureds allegedly
responsible for such specific Wrongful Acts would include First Acceptan_ce Corporation and its
claims employees The amount of actual or potential damages at this juncture is alleged to be
321,500,000 based upon the May 6, 2011 demand letter from Louis R. Battisla. The
circumstances by which the lnsured first became aware that such alleged Wrongful Acts may
reasonably be expected to give rise to a Claim being made against the lnsured came about
through the May 6, 201| letter, coupled with statements made by plaintiffs' counsel at the
mediation of this ease on May 19, 201 l (which mediation ended with no resolution).

The foregoing matters should be reported to Catlin pursuant to Section VI "Notice of
Claim or Wrongful Act“ under the above-referenced Policy. Ii` you require any additional
information regarding this matter, please contact me immediately.

Sincer_ely,

James J. Leonard
JJL/jkt
Enclosurc

cc: Mark P. Reineke
Daniel Walker
Scott Walker
Sarannah L. McMurtry

ATDSD\ }LEONARD |JMIlvl

BARNES&’H-IORNBURG u.r
Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 58 of 104 Page|D #: 82

 

EXHIBIT D
LOCK'I`ON JUNE 7, 2011 LETTER

[attached]

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DY§," ‘ erisa

insurance and Risl< Management Speclalists

 

June 7, 2011 mm HAR _7 PH i2- 29

Via Cert' 'e Mm` alE-mail cath`nclaims l@catlz’n.com il"’li][.§£ft§:f*…$liwm '
tv ‘ ' t- L:_chs.'ltt:tiny ¢,sr_

Catlin,Inc. """_‘ ;--_~.,E'C._¢§ lt

Attn: Claim Manager - Professiona.l Liabillty
140 Broadway, 43th Floor

New York, NY 10005

lnsured: First Acceptance Corp.
Policy Number: ICP-91968-0710 (E&O)
Policy Terrn: july 1, 2010 to july 1, 2011
Retention Amount: $1,000,000.00

Claimants: Pittman v. Minson

RE: NOTICE OF CIRCUMSTANCES - Pittman v. Minaon
To Claim Manager - Professional Liability:

Pursuant to the Notice provisions of the above-referenced policy, we are hereby reporting this matter.
Please find a copy of the attached 5/27;']] letter from Barnes & Thornburg LLP and a copy of the attached
5/6/1] demand letter from Toral Garcia Battista. The summary of the Notice of Circumstances is as

follows:

Pittman v. Mr'nsoa

This case involves a motor vehicle accident whereby the insured driver ]osh Minson was
involved in a motor vehicle accident with another vehicle while the Minson vehicle was allegedly being
chased by a third vehicle. Justin and Chelsea Pittman were passengers in the insured Minson vehicle. As a
result of the accident, justin and Chelsea Pittman claim permanent brain injury with significant cognitive
deficits resulting in severe limitations in their ability to work, drive and function socially.

Subsequent to notice of the accident, the ]nsured's claim adjuster tendered the limits to all
claimants and instructed the claimants to work it out amont themselves as to how the limits wuold be
divided. The claim was later assigned to defense counsel who arranged for a global settlement conference
with all claimantsl The day before the global settlement cnference, plaintiffs Justin and Chelsea Pittman
withdrewl indicating that the timing of settlign up the global settlement conference was too slow and that
the lnsured should not have settled other claims using the policy limits before settling with the more
seriuosly injured Pittman claimants

Up until May 6, 201 1, the Pittman's counsel had not provided the insured with any formal
settlement demand on behalf of his clients. On May 6, 2011, plaintiffs' counsel provided the attached
letter demanding $21,500,000 on behalf of the Pittmans ($14_.000,000 for ]ustin Pittman, $7,000,000 for
Chelsea Pittman, and $500,000 for Wendy Pittman, justin and Chelsea's mother). As the attorney's letter
references a demand well in excess of the driver's insured limits, FAC reasonably expects the plaintiffs
will bring a bad faith and[or negligent claims handling claim against FAC for allegedly falling to offer

L()CK`|`ON lNSUl`l.-\NCEBROKERS, LLC

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insurance and Risk Management Spe€iaiists
policy limits timely to the Pittman plaintiffs The lnsured now reasonably expects the alleged Wrongful
Acts of failing to offer timely the policy limits and settling the claims of other less-insured claimants
utilizing the policy limits may give rise to a Claim under the Policy. The identities of the potential
claimants include ]ustin, Chelsea and Wendy Pittman, and ]ames and ]oshua Minson. The insureds
allegedly responsible for such specific Wrongfui Acts would include First Acceptance Corporation and its
claims employees The amount of actual or potential damages at this juncture is alleged to be $21,500,000
based upon the May 6, 2011 demand letter from Louis R. Battista. The circumstances by which the
insured first became aware that such alleged Wrongful Acts may reasonably be expected to give rise to a
Claim being made against the insured came about through the May 6, 2011 letter, coupled with
statements made by piaintifi's‘ counsel at the mediation of this case on May 19, 2011 (which mediation

ended with no resolution.

We request that you provide the lnsured with your claims f litigation management guidelines
such as choice of counsel limitations acceptable fee per hour_. etc._. as soon as practicabie. We further
request that you provide the lnsured with an acknowledgement letter within ten (10) days of receiving
this notice. Please provide your coverage position within thirty (30) days of receipt of this notice. The
acknowledgement letter, Coverage position and any other correspondence which are not considered
privileged by the attorney-client relationship should be addressed to the lnsured with a copy to Lockton.

The lnsured’s contact information is as follows:

Mark P. Reinel<e

VP Legai Affairs

First Acceptance Corp.

3322 West End Avenue, Suite 1000
Nashviiie, Tennessee 37203
Office: 615.844.2834

Cell: 615.238.4775

E-mail: MRginggg@[gglgs,ggm

Aiso, please copy Loci<ton on all correspondence through the undersigned via e-mail. Again, we would
appreciate your timely acknowledgement of receipt of this notice within the next ten (10) days with the
assigned claim adjuster's information and assigned claim number.

LOCKTON INSURANCE l]ROKER$, LLC
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725 _'i i- 1_L-‘uur\\;,\ "11 . l_'_\ili l"l r'_ l_\¢-. .v`\n`q\‘ll‘~¢ \ .'\ *l`lllll.r _-l 12 l."\i britt 211[|4" l'»-\\'; la l.li i\l'i‘.l ll.'_‘:-l

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Insurahce and Risic Managemeni Specialisis
Thank you for your attention to this matter. Shouid you have any questions or comments please do not
hesitate to contact us.

Sincerely,

Larianna Danieiyan and Raymond Dion, Esq.

Claims Coordinator Vice President, Insurance dr Claims Counsei
Lockton Insurance Brokers, LLC Loci<ton insurance Brokers, LLC

725 S. Figueroa Street, 35‘h Floor 725 S. Figueroa St., 35"' Ploor

Los Angeies, CA 90017 Los Angeles, CA 90017

Phone: 213-689-2388 Phone: 213-689-2334

Fax: 213-873-2388 Fax: 213-873-2334

E-mal|: ldanielyan@iocl-_ctgn.ggm Email: rdion@iogl<ton,§gm

cc: Mark P. Reineke - First Acceptance Corporation

LOCKTON lNSURANCH BROKEHS, l.l..C
l.iwn.~‘~\' ¢11."|4705
.'.':"» h Fl'_v,tn'l\r.i 51 ',liil\ I"l _-' l.\\:- {\r'lp_t‘ll‘\, (_ -\ \l|l||l:' ¢` ill."l_l hh"i §li\| : l:.-\ ‘(; lll.ll f\-\‘" “:‘: l

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EXHIBIT E
CATLIN ACKNOWLEDGEMENT

[atiached]

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.._____”

~3340 Peachtree Road N.E.

Suite 2950
At|anta. GA 30326

FIL§D

Dalel 03/20.|'2011 20|2 HAR __7 PH 12: 29

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First Accepiance Corporat|on gm D""H L“' °'|‘“`}“"“['R ""‘E"

3813 Green t~lilis Vi|iage Dr _ § pp w
Nashvl|ie, T-N 37215 ---r-~_- ~~~~~ }_ .c .. , .

REZ |HSWEdZ F|rst Acceptance Corporation
Company: Catlin Underwrii|ng Agency of New Yorl<
Ciaimant: Justin Pittman; Chelsea Pittman

Policy Number: lCP-91966-0710
Policy Period: 0710112010 - 07!01!201‘1
Claim Number: NYU-PL-114906

Dear SirlMadam‘.

We acknowledge receipt of your loss notice regarding the above captioned claim. We understand that you are
the contact person concerning this matter and that insurance related correspondence should be directed to
your attention if this information is incorrect, kindly provide us with the correct contact information for the

person we should communicate with.

The initial handling of this matter has been assigned to inna Kogan here at Catlin. You will be contacted
shortly and that contact may be from our assigned investigator. Shouid you have any questions or in the
interim need to discuss this matter you may reach lnna Kogan at (212) 801-3411 or by emai| at
'inna.l<ogan@cat|in.com.

We wish to also take this opportunity to advise you that while conducting an investigation and pending
completion of our investigation, we cannot comment on liability or the existencelnon-ex|sience of coverage
under the policy. Thereforel please do not construe our ensuing actions requests or recommendations as a
waiver or modification of the policy termsl conditions and provisions A|| Termsl Cond|tions and Provisions are

specificain reserved

Shou|d you have any questions comments or concerns please do not hesitate to contact us.
S|ncereiy,

Catlin. inc.

cci Lockton Companies international
The Si Boto|ph B|dg.,‘iBB Houndsdlich

London, ECBA ?AG _
Case 3:12-cv-OO484 Document 1-4 Fl|ed 05/16/12 Page 64 of 104 Page|D #: 88

 

EXHIBIT F
KOGAN JULY 27, 2011 E-MAIL

[attached]

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t-" ii.. E
From: Kogan, luna |mal|to:lnna.|<ogan@cat|in.comi

Sent: Wednesday, Juiy 27, 2011 3:36 PM

To: Leonard, Jim lelz HAR '7 Pl°l l2¢ 29
Cc: Sarannah L. McMurtry; Mark Reineke En

' g g _. _ at tire TER
SubJect [BULK] RE FirstAcceptance Corp Ha|| vs Estes B§;HSKEWPUT;HLM gi

Importance: Low

m.m_.e:;§ s c set

Jim,
Thank you for the follow up and for taking the time to discuss the above-referenced matter with me.

l have had a chance to speak with Jessica, and she has confirmed that you had previously come to an
understanding that First Acceptance has no obligation to report Notices of Circumstance. l do not want
to go against what has been previously communicated to you, and therefore will adhere to your prior
understanding that although First Acceptance has the option to, they are not obligated to report
matters that have not yet given rise to a Claim. That sa|d, l highly encourage you to report anything that
appears that it may result in a Claim.

Additionaiiy, | want to take this opportunity to thank ai| of you for taking the time to discuss this matter,
especially in light of the fact that this appears to be a question that you had already spent time on in
the past. lt is my hope that going forward we will be able to keep lines of communication open and
resolve any other matters that arlse.

l will issue a coverage-position letter on beha|fof Catlin advising that we are accepting this matter as a
Notice of Clrcumstances. in the interim, please let me know if you have any questionsl concerns or
would like to further discuss this matter.

With kind regards

inna Kogan. Esq.
Senior Claims E.\;aminer
Catlin. |nc.
'li2-80i-3-til - Direct

lnna.i<ogan@catlin.com

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EXHIBIT G
CATLIN SEPTEMBER 1, 2011 LETTER

[attached]

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CATLIN

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U‘i`\ii'i§%li§i:€g‘ 6 .,"A“EEM€ w www.catlin.com
`. ,`; §§
September l, 2011 _V_i______,__-..__-- -- - “"`M;“s"
VlA F]RST CLASS MAIL
Mr. Mark P. Reineke `
VP Legal Aft`airs
First Acceptance Corp.
3813 Green Hills Village Drive
Nashvi|ie, Tennessee 372 i 5
Re: Named fnsured: First Aceeptance Corporation
Insurer: Catlin Insuranoe Company (UK) Ltd.
Matter: Pittman
Policy No.: lCP-91968-0710
Our File No.: NYU-PL-l 14906

Dear Mr. Reineke:

On behalf of Catlin lnsurance Company (UK), Ltd. ("Catlin") this will further acknowledge receipt of
your correspondence regarding a complaint styled Wendy Pim]an etl al. y. Jarne§ Minsog and Joshu§
Minson, filed in the Circuit Court of the Third Judicial Circuit in and for Columbia County, FL. This
litigation stems from alleged damages sustained by the Plaintiffs as the result of an automobile accident
occurring August 12, 2007. Pursuant to the information that has been made available to Catlin,
Defendant Joshua Minson, the driver of the vehicle involved in the auto acoident, was insured by First

 

I. Catlin Policy

Subject to all its terms and conditions, Catlin issued First Acceptance an Insurance Agency Professional
Liability Insurance Policy No IAB-6030-08]0. The Policy is a “claims made and reported” policy that
only affords coverage for Claims first made against the lnsureds and first reported to the lnsurer in
writing during the Policy Period. The Policy Period runs from July 7, 20|`0 to Jul_y 7, 2011.

In light o‘r` your correspondence l kindly direct your attention to Section lI. lnsuring Agrecment which
indicates as follows:

The lnsurer shall _pay,_ on behalf of the Insured, L_oss arising i`rom any Claim by a policyholder or
third party client first made against the lnsured during the Policy Period or`the»Discovery_Perioc|
(if applicable) and reported to the insurer'during such period pursuant to the temis `o_f` this`Policy
for a Wrongf`u| Act in the-rendering of or failure to render Professional Services to the'c_laima'nt.

.Also,_ please nole€thn`t, in pertinent pnrt, "Claiin means a written demand for monetary or hon-monetary
relief made_upou.ah` lnsured; [_or] a civil or criminal proceedings... Wrorigful Act is defined and “ar`iy
beach of duty, neglect, error, misstatement, or misleading statement, omission or act by an lhsured." The
definition of Prof`es"slonai Sarvices includesl but is not limited to, “the soliciting, placing, selling o`r
servlo_ing“ various types `of` insurance The terms Prof'essional Services is defined as “the services

performed by an lnsured for a policy holder or third party client pursuant to a written contract with such

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policyholder or third party client for a fed, commission or other remuneration or financial consideration
with insured to the benefit of the Compan)l.”

Additionally please be advised that in relelvant part Section VI. Notice of §ircuingnces Giving Rise to a
Claim of the Policy states as follows: '

B. It` during the Policy Period, thel Insureds become aware of a specific Wrongful Act which
reasonably may be expected to give rise to a Claim being made against the lnsured and give
written notice to the lnsurer of the specific Wrongful Act, the reasons for anticipating such a
Claim, the identities of the poteitlial claimants and the insureds allegedly responsible for such
specific Wrongful Acts, the am nt of actual or potential damages, and the circumstances by
which the Insureds first bec e aware of such specific Wrongful Act, then any Claim
subsequently made against th:niitsureds arising out of such specific Wrongt`u] Act, shall bc
deemed to have been made at the lime such notice was received by the lnsurer.

l'I. Coverage Analysls

Please be advised that Catlin has not made any determination as to the validity of any potential Claims
that may arise as a result of this, nor do assert that any liability exists. A|t.hough we lend no credence
to such potential Claims, the purpose oft is letter is to advise you that Catlin will accept this matter as a
Notice ol`Circumstances which may give tise to a Claim.

Finally, please note that Catlin"s continui g investigation of` this potential Claim and any further activity
taken in regard to this matter are subject t£| a full reservation of` rights under the Catlin Policy, at law and
in equity, including, but not limited to, _ e right to assert at any time that Catlin has no duties to the
Insurcd pursuant to any of the terms anti provisions contained in the Policy or under any applicable
principles ot` law or equity.

Catlin‘s reservation of rights as stated heriein is continuing in nature. The steps which have been or may
be taken by or on behalf of Catlin to protest its interests are without prejudice to its rights under the terms
and provisions of the Policy and at law. o act of any agent, servant or employee of Catlin, including its
attorneys, shall be deemed to constitute a lwaiver or estoppel with respect to such rights. lt is also agreed
that the lnsureds reserve all of their rights linder the Policy as well.

Please do not hesitate to contact me if you|have any questions or concerns regarding this correspondence

Sincere_ly.

internal

lmra Kogan, Esq.
Senior Claims Examiner

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EXHIBIT H
FAC SEPTEMBER 13, 2011 LETTER

[aaached]

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September 13, 20l.=l ' MM_M
Via E-mail at: Inna.Kogan@catlin.com
lnna Kogan, Esq.
Senior Claims Examiner
Catlin, Inc.
Re: lnsurcd: First Acceptance Insurance Corporation
Policy No.: ICP-9l968-0710

Your Claim No.: 102817

Dear Ms. Kogan:

This is to provide you and Catlin with additional information regarding the above claim
in advance of our scheduled telephone call this afternoon at 3:30 Eastem time.

Following the unsuccessful mediation of this case, plaintiffs counsel has stated that First
Acceptance lnsurance Corporation’s (“First Acceplancc”) $1,000,000 SlR should be made
available in order to continue settlement negotiations At this point, First Acceptance has not
done so. Your lnsured seeks Catlin‘s advisement and direction with regard to the future handling
of settlement negotiations in this case.

Plaintifi‘s $20,500,000 demand on behalf of all claimants ($14,000,000 on behalf of
Justin Pitt_man; $6,000,000 on behalf of Chelsea Pittman; and, $500,000 on behalf of Wendy
Pittman, their mother)l is a reflection of the severe damages sustained by Justin Pittman and, to a
lesser extent, Chelsea Pittman. The extent of the Pittmans‘ physical and mental damages do not
appear to be seriously in question. Justin Pittman was in a coma for a period of time and
underwent surgery to relieve pressure on his brain. Ultimately, he underwent a partial lobotomy
as a result of this accident and was hospitalized for months. According to plaintiffs counsel,
Justin Pittman is in need of 24-hour attendant care and is described as impulsive and very
difficult to manage. His unreduced future economic damages are said to be in the range of
$60,000,000. Even when reduced to present value, defense counsel indicates that the future
economic damages alone could total as much as $15,000,000 for Mr\ Pittman.

The traumatic brain injury suffered by Chelsea Pittman was described as less severe and
as being in the moderate range. She is said to have had difficulty maintaining gainful
employment since the accident and, consistent with her traumatic brain injury, has experienced a
loss of sexual inhibition resulting in the birth of two children out of wedlock since this accident
(Chelsea Pittman was 15 at the time of the accident).

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Inna Kogan, Esq.
September 13, 2011
Page 2

In short, the two Pittman children sustained demonstrable severe to moderate brain
injuries as a result of this accident with the resulting potential for a concomitantly large verdict.

With respect to the underlying liability case, this matter poses a classic “red light/green
light" issue. There are conflicting reports as to whether Joshua Minson (the insured driver) ran a
red light during the course of an alleged chase, thereby causing the accident Joshua indicates
that the light was green when he turned and other witnesses have given conflicting testimony as
to whether or not the light for Mr. Minson was green or red. The driver of one uninvolved
vehicle testified that Mr. Minson had a gge_ig light at the time of the accident I-Iowever, First
Acceptance’s defense counsel notes that this same individual apparently gave a statement in
which she provided a conflicting statement indicating that Mr. Minson turned against a rgc_i light.
There are allegations that Mr. Minson was involved in a chase shortly before the subject
accident, which tends to support a conclusion that he may in fact have turned against the red light
in order to escape his pursuer. The liability ease will boil down to this one single issue, which
can apparently go either way based on the testimony of the witnesses.

First Acceptance needs to confirm Catlin‘s coverage position with respect to this matter1
both with respect to a potential joint defense agreement as well as with respect to further
settlement negotiations In our view, the Pittman v. Minson matter falls within the Catlin
coverage, and constitutes one “c|aim” under the Policy thereby triggering one SIR and one
Policy limit. First Acceptance also needs to know what additional information Catlin will
require in order to further assess this claim. We will provide as much of that information directly
to Catlin as possible, with additional information coming from our defense counsel (assuming
that there is no conflict).

As you can see from the foregoing, the potential damages in this case, if lost, are
catastrophic and would far exceed First Accepta.nce’s insurance coverage. We have been
advised by defense counsel that his estimate for the settlement range for all claims is in the
$3,000,000 - $5,000,000 range, which would only implicate the SIR and Catlin‘s layer of
coverage

Wc look forward to working with you and Catlin as we proceed with this case.
Sincerely yours,
Mc/
James J. Leonard

JJL:jta

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EXHIBIT I
TYNDALL OCTOBER 31, 2011 E-MAIL

lattached]

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From: Jessica C. Tyndall [maltto:jessiea@brcwnlawl|p.com]

Sent: Mcnday, October 31, 2011 1:54 PM

To: Mark Reineke

Cc: Rtr:lt Oliveira; jtm.ieonard@btlaw.ccm; Gregcrv W. Brown
Subject: First Acceptance - Pittman/Catlin Claim # NYU-PL-114906

Dear Mark.
Artached please find a reservation of rights letter pertaining to the Pittman matter.

As you will note from thc lctter, Catlin has determined that the matter should be treated as a
Claim going forward. To effectively associate with First Acceptance and to be prepared for
future settlement negotiations Catlin respectfully requests that First Acceprance provide us with
the following mareria|s:

(l) First Acceptance's claim file for thc underlying automobile liability claim

(2) A|l assessments/reports ofFirst Acceptance‘s liability for bad faith from First Acceptance's
bad faith defense counsel, Joseph Kissane

(3) All assessments/reports from the Minsons‘ defense counsel to the extent those
assessments/reports are not part ofthe underlying claims file

(4) Copies of any settlement demands or pleadings andfor discovery responses containing thc
amounts sought by the Pittmans

P|ease let me know if First Acceptance has any problem providing these materials to us or ifyou
have any questions about the scope ofthese requests. Please understand that in requesting these
materia|s. Catlin does not intend to waive and ofthe provisions ofthe Policy or to modify the
coverage position set forth in the attached letter.

1 look forward to continuing to work with you on this matter and remain.
Cordially.

Jessica C. Tyndall

bruwn.

4130 Parklake Avcnue, Suite 130
Raleigh, North Carolina 27612
91 917 19.0856 (direet)
919.719.0854 (main)

9l 9.5'..’2.3769 (cell)

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EXHIBIT J
CATLIN OCTOBER 31, 2011 LETTER

[attached]

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jessica c. tynciall
FE§ §I[E 919.719.0856
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Mark l"‘. Reinelsc _
\'ice Presidcnt Legal Affairs -~---=--_é-`- LN inflict $"""

First r\cceptance Corpora Lion
3322 \X'est End r\venue - Suite 1000
Nashville, Tennessee 37203

get Reseggatign oijghts

matters Pittman, cf. a!. v. Ml`n.ran, Colum bia County, F|orida Civil Action No. OS-IOBCA
inaurer: Catlin Insuranee Company (UK), Ltd. (“Catlin")

policy #= ICP-otass_ovto (¢he "Poti¢y")

policy period: 7/1/2010-7/1/2011
policy limit: $5,000,000
retention: $1,000,000

Claim #.' NYU-PL-]14906

Dear Mr. Reineke:

As you know, this law firm represents Catlin in connection with insurance coverage issues arising out
of the above-referenced matter. On behalf of Catlin, we once again acknowledge receipt of_]amcs Leonard's
September 13, 2011 letter requesting that Catlin treat this matter as a Claim.l \X'e also acknowledge and thank
you for the additional in formation you have provided regarding this matter. including giving our firm the
opportunity to discuss this case with Fi.t'st Acceptance's bad faith defense counsel,_]oseph l(issane.

Based on the information we have received from you and frotn Mr. Kissane, Catlin has determined
that this matter constitutes a Claim under the Policy, and Catlin intends to treat it as such going forward. \li"e
note that Catlin has not made any determination as to the truth or falsity of the allegations made by the
Pittmans against First .\cceptance\ and in providing you with this correspondence, neither Catlin nor we
intend to implyr that the Pittmans' claims have any meritl Instead, the purpose of this letter is to draw your
attention to several provisions within the Policy that may affect Catlin‘s coverage of this matter.

Ar present, we understand that the Pittmans contend that First r\cceptance failed to properly initiate
settlement negotiations and failed to properly settle their claims against First Acccptance’s insureds. james
and joshua Minson. We understand that at an .-\ugust 2011 mediation, the Pittmans made a $2(},500,000
settlement demand that was premised upon First Acceptance's alleged liability for bad faith in its handling of
the Pittmans’ claim against the h'l.insons.

We direct your attention to the Policy’s insuring Agreement, which provides that Catlin "shal_l payl
on behalf of the insured, Loss arising from any Claim by a policyholder or third party client first made against
the insured during the Policy period . . . for a \\t-‘rongful Act in thc rendering of or failure to render
Professional Services to the claimant." Although "Claim” is defined by the Policy as a "written demand for
monetary or non-monetary relief," based on the circumstances surrounding the Pittman’s lawsuit against First
Acceptance’s insureds, their demand at the recent mediation, and their condoned allegations that First

 

 

in capitalizing the term Claim\ we intend to refer you to and incorporate by reference thc definition of that
term in the Policy.

 

 

Acceptance erred in its claims handling, Catlin has concluded thatit is proper to treat this matter as a Claim at
this juncmre.

\ll¢'e note that the underlying automobile accident occurred in 2007, and the Pittmans filed their
lawsuit against the Minsons in February 2008. Though we understand from you that the Pittmans did not
make rt specific written demand for monetary or non-monetary relief against First Aceeptancc between thel
date of the accident and the date on which First _"tcceptance tendered this matter to Catlin for coverage,
because the Policy is a “claims made and reported" policy, we must respectfully reserve Catlin‘s rights to
decline coverage or to limit coverage for this matter in the event it becomes apparent that a written demand
was made against First Acceptance prior to the inception of the Policy.

\li'e also direct your attention to the l’o]icy's Exc|usions, and in particular, E:tclusion Q, which
provides that the “Policy provides no coverage in connection with any Loss arising from any Claim for any
liability contractually assumed by the insureds under any policy . . . oflnsurance." Accordingly, there is no
coverage for amounts First Acceptance is contractually obligated to pay the Pittmans by virtue of its
insurance contract with the Minsons.

its you know, First Acceptance, and not Catlin, _has the duty to defend any Claim made against First
r'tcceptancc. First :'\cceptance has chosen_]oscph Kissane of the (_`.ole, Scott & Kissane law firm to protect its
interests in connection with the Pittmans’ allegations Catlin reserves its right to "effectively associate in the
defense and the negotiation of any settlement” as is permitted under Sectlon \', paragraph G of the Policy.
Pursuant to that same Policy section and paragraph First Acceptance “shall not admit or assume any liability,
make any settlement offer, enter into any settlement agreement, stipulate to any judgment, or incur any
Dcfcnse Costs without the prior consent of [Catlin.]"

The Policy’s Aggregate Limit of Liability for all Claims reported during the Policy Period is
$5,000,000_ and that limit is reduced by Catlin‘s payment of Defense Costs. g Policyl Sectlon IY,
l’atagraphs r\ § C_, _ln'addition to the Pittman matter discussed in this correspondence, First Acceptance has
reported to Catlin a Claim involving a lawsuit styled infirm N. _»’Lt er guardian ¢J]im; ng, ¢;, al y_ E;M;g .?f
liotmfdjm'krmt. Del~:alb County, Georgia, Case Numher 09A_1:014l. The l-lynan matter and the Pittman matter
arc subject to the Policy’s single aggregate limit of liability Accordingly, amounts paid by Catlin in defense
and/or in settlement of the Pittman matter will serve to erode and possibly eliminate amounts available to
defend and/or settle the H_vnan matter.

Catlin shall only be liable for that part of covered Loss that is'in excess of First Acceptancc’s
$1,000,000 Retention. Policyl § gcg)n l 'l’aragraph B. Finally, we note that the Policy provides that Catlin is
entitled to seek reimbursement of any amounts in pays in connection with this matter if it becomes apparent
that this matter is not covered under the Policy. lm_$e__ctiLV,_P_LaggtM `

Please understand that Catlin’s decision to treat this matter as a Claim is based upon its review of the
particular circumstances surrounding this matter only. Catlin does not intend to waive its right to strictly
interpret any provision of the Policy in connection with any other claim or potential claim tendered for
coverage by First Acceptance. Additionally, this correspondence is not intended to be an exhaustive list of all
of thc Policy’s terms or all of the possible terms that may affect coverage for this matter. ln that regard, we
must respectfully reserve Catlin’s right to limit ot preclude coverage based on policy provisions or applicable
legal principles that are not specifically set forth within this letter. To the extent Catlin becomes aware of
other matters and provisions that may affect coverage for this matter, ho\\'e\'er, Catlin will endeavor to
provide First :\cceptance with prompt notice of the same.

Golng forward, we ask that you_[)_tovide_ Catlin and our Errn with a copy'of any and all status reports
and/or assessments of the underlying automobile liability lawsuit filed by the Pittmans as well as the reports
and/or assessments of the l’ittrnttns`1 claims against First Acceptance so that Catlin can effectively associate

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with First Accepmnce regarding the defense and potential resolution of this ma tter. We look forward to our
continued work with you and rcmain,

Cor`diall)i_ 7

`_]essica C. T):€}_`_\'/

 

cc: chk Ol.ivci.m (via electronic mail only)
james Lconard (v.ia electronic mail onl)')

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Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 78 of 104 Page|D #: 102

 

EXHIBIT K
TYNDALL JANUARY 17, 2012 LE.TTER

[attached]

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jessica c. tyn dall

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l Mark P. Reinel-te ` jamesj. l_.eoniird

\-'ice Prcsideni l.cgal Affairs Barnes & Thornbiirg, l.lsl’
First Acceptsince Corporation Promincnct: in Buckliead - Suite l?lli)
3322 West i*`.nrl A\'enue - Suite 1000 J-'l`l'§ Piedmont Roatl, N E.
Noshvi_lle\'l`enncssee 372(13 j r’ttlant_.‘t._ Geotgitt' 3_1'!30_5-2‘)54

 

 

 

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matter: Pittman, et. al. v. Minson, Columbia Count'yl Florldat Ciifil Action No. UB-IDBCA
insurer: Catlin lnsurance Company (UK), Ltd. (“Catlin”)
policy #: ICP-91968-0710 (the "Policy”)

policy petiod: 7/1/2010~7/1/2011
policy limit.' 55,000,000
retention: $1,000,000

claim #: NYU-PL-114906

'[)eitr hlessts. Rctnelte and l.eonarcl:

\\'r'e write on beha|fof Catlin iu formally respond to your january l(lll"._lanuaril l.`}"‘, -.iitcl january I'F'T'
letters and to update Catlin‘s coverage position regarding this matter.

.\ftcr careful rcvie\\ of your letters and thr materials provided to us by l"irst :\eceptance._. including
the claim file and the recently provided january 29 atidjanuary 3ll, 2008 letters from 'l`ural Garcia Pinyeto de
l"`t‘aii'/., P.r\\ tu hiurshall Dennehy llt\ir"arner Coleman dc Goggin, P.C., Catlin has concluded that the Policy does
not afford coverage for tliis matter.

.-\s you lino\\" the Policy is a “c|ain'ts made and reported" policy. 'l`hiis_ tlie Policy tt'qiitivs that an_i'
(Ilair_n he “-t'ir_st made" against Hrst .\cceptance during the Policy Period iii order to trigger Catlin‘s coverage
obligations Here, we note that tlie Pittmans made a Claim against First .’icceptance on janti:ir_v 29, 2t`tUB and
january .‘l»U, 2008, and as a resitlt_ there is no coverage under the Policy for this matter.

\\"e draw your attention to the Policyl which defines the term "Clatm" in pertinent part as "a written
demand for monetary or non-monetary relief made upon an Insured." \\"e next direct you tu the 'l'oral
Garcia letters, which clearly indicate that :is a result of First .-\cceptance's failure to tender its l’olic_t' limits to
the I’itu'naris u'i September 2001 the Pittmans notified First Acccptance of their intent to seek an "escess
verdict" against First A_t_:ceptan_ee's insureds andl based on the case laiv cited b_t the l’tttii_iatis' euuiisel, m
pursue First .-\ceeptani:e l'or that excess iiidgment. Regrcttabl_v. the only reasonable interpretation of. these
letters is that the`Pit_tru'aiis made a written demand in january 2008, notifying |-'irst .\_ceeptance that they
intended to seek monetary relief~ in the form ofan excess verdict against First .-\eeeptaiice's ni.\'urt-ds--- from
l~'"irst Acceprance as a` result of First Aect:pt:irice's alleged bad faltli. The january 2l1le Torttl (.`iatcia letters
constitute a Claim against First r‘tcceptttnt:i:1 and because that Claim nas first made against First r’lcceptance
prior to the inception of the Policy l’eriod, the Policy does not afford coverage for this matter.

Your letters inaccurately contend that Catlin‘s has attempted m “ignore" this matter and has taken a
"shifu`ng sands" approach to its coverage pusitiun. The facts and circumstances surrounding Catlin‘s
response to this matter. howe\'er. demonstrate othcr\vtse. '

 

 

 

\\"e note that since First r\ceeptancc reported this matter injiiiic 20|i and continuing through t\lt.
Leonard’s january tU'l’ leiter, First r\cccpiance has taken the position that the i’ittinaiis' allegationsagainst
First .»\ccepianec have not yet become a Claim. in fticl, despitel apparently having the _I:inuriry 2008 'I`t'i_riil
Garcia letters in its possession and having access to them long itgo'. l"irst r\cteptance adamantly denied tli`nt
the Pittmans had ever made any written demands against l"irsl r\cceptant:e.

:\lthough First :\cceptance contended that rio Claim had been made, First :\cccptance nevertheless
urged Catlin to treat this matter as a Claim as a potential means ofreducing exposure should the Pittmans sue
First .~\ci:eptance following a potential excess verdict against the l\lins_ons. llaviiig no obligation to do so,
(_`at|in - as an accommodation to First i\cceptance - acquiesced to First i\cct:pianct:'s request in Octoher
BiJl l. .-\t that iime. though, Catlin specifically and clearly expressed concern about the fact that underlying
automobile accident occurred in 2007 and about the fact that First .'\cceptance's allegedly improper claims
handling occurred in late 2007 and early 2lJUB.

`l`o be sute, in the October 3l, 2011 reservation of rights letter transmitted to First .\cceptance by
our firm, we stated:

\Y'e note that the underlying automobile accident occurred in 2001 and the Pittmans filed
their lawsuit against tlic hlinsons in l-'cbruary 2008. Though we understand from you that
the Pittmans did not make a specific written demand for monetary or non-unineiiirr relief
against First Acceptancc between the date of the accident and tlte date on which |"irsi
r\cceptance tendered this matter to Catlin for coverage, because the Policy is a "tlatms made
and rcported" policy, we must respectfully reserve Catlin‘s rights to decline coverage or to
limit coverage for this matter in thc event it becomes apparent that a written demand was
made against First i\crepti»nice prior to the inception of the Policy.

Catlin‘s approach to this matter. therefore, could not he more consisteni. 'l`hc concerns expressed in Catlin`s
initial reservation ofits rights regarding this matter were horne oui.

Similarly, Catlin has timely and painstakingly reviewed every shred of information provided to it b_v
First r'tcccptancc. in that connection. both Catlin‘s representatives and unr firm have participated in
countless conference calls regarding thc facts surrounding and exposures presented by the underlying lawsuit
against the h|insons. Catlin even encouraged First r\cct.-ptance to authorize the .\iinsnits' defense counsel to
participate in the l)ecember 14, 201| focus studies and agreed to permit F"irst .\cccpiauee to erode its self-
nisured retention with a portion of the costs associated with those snidies. 'l`hos, ilie suggestion that Catlin

has ignored anything about this matter is simply incorrect and not supported h_v the course of actual e\'ents.

\li’c regret that the Policy does not afford coverage for this matter and that Catlin has only recently
linen iihle itt conclusively 'rnii`lte this determination based upon the information First Aeceptance provided to
ii last \veel;. Htitve'\'et, it appears that First .\cccptan'i:_e was well aware of the Pittmans' Claim years ago, and
we respectfully sui'_n;esi that Catlin‘s coverage determination could have been made sooner had First
.'\cccptance` been t'ri`ore furtherinng during lite underwriting process and tri its reporting obligations

ln closing, we note that Catlin does riot tntend to waive any of its rights utidcr the Policy or
applicable law and expressly retains the right to decline tn cover this matter based on policy provisions and
legal principals that are not expressly set forth in this correspondence or the prior correspondence ne and
t`_`ailiii have exchanged with First .'\eceptance relating to this matter. Should either nf_vour feel there is more
to discitss, please direct all such inquiries and correspondence to our fii'iii.

Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 81 of 104 Page|D #: 105

 

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cc (\‘ia electronic mail nnlv):

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` Grc ’- ".‘l:) ~ ll
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R. Olj‘.'¢:lrn
G. llanan

 

coLLEcTIvE ExHIBIT L
GARCIA LETTER`S

[aftached]

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Marshall Dennehe Warn er. rC l ma &G l
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Jacksonvl||e
RE: Our C|ients: Ju!ii n and Chelsea Fh‘lman, minors
lnsured; Minson
Claim No.: 90710305
Date of Loss: 8/‘|2/2007
File No.: 06 016.00'|25

Dear Ms. qull:

Fursuani la our canvar_sation, please be advlse)d ith we 11151||20(;)1‘1:11a be attending 1119 global
seiile`ment conference scheduled far amarrow January 1a ieenh

Acce\alanc;e had 1:1rr_1pli;z ii ca la lrw`e§¥g ig me this case and fal eda 1'0 tender lhe P|olfc;:v |lgms 10
our above _c`apHO 'Bd man s p0 uch-110 our dea ang 051:11_‘ ap amber 18. 2007 rihar
advisedihalwewl| be catcan ar an excess ver lai ni esa casas.

lf you have any questions please do nat hesh‘aie ha canlact +he undersigned

ALEJAW
AMG/ ms

Tora| measslonul Su'llding. 4780 Daule Road, Su|!e 101, Furl Lsud'urda|e. Flon'da 33314

Case 3:12-cv-00484 Document 1-4 Filed 05/16/12 Page 84 of 104 Page|D #: 108

 

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nwf ‘ LV-
TOR.AL GAB.CIA PlNE`YRO & FRA.NZ P.A.
ATTURNEYS AT LAW

Frink L. ana|' Blow'lrd (854} ?DS-ZSSD
A!cjandro M. Gamfa - nude (305) 933-3179
Johnny A. Fmeyro To1! an {am m.zssz
WHHarn M. Fran Fa'r. (954) ?03-29?8

W.lnm!|¢w.r.um

via Fn.=s¢mue {904) 355-now
Januc:ry 30. 2008

Mlc:hae` C>rr. 'Esqu!re

Marshar 'Denr}ehey. Wamer, Coleman & Goggin
200 We's{ Fo'r§ h Slreei, Su|le 1400

Jocksonvl||e,' L 32202

RE: Our Clients: Juan and Chelsea PH‘|rnan, minors
lnsured: Mlnsan
Claim No.: 90710305
Ddie af Loss: B/ 1212007
Fl|e No,: 06 016.00125
Dear Mr. Orr:

Pursuan’r to your requ¢=.-si*l please see the fal]owing case law:

a Farlnas v. Flarlda Farm Bureau General lns. Co.: 550 So.2d 555
» General Seaurity Nailanal lns. Co. v. Marsh: 303 F.Supp. 1321

|f you have any questions, do not hesi’rqie 10 contac:i ma.

VF

S|`r‘\_ erely-. -r _ '
AL ANPG;.:F;C\¥A

AMG/dms

Tora| F'mfc.sslanal Bu|td|ng, 4?BD Davie Road. Sul'to 101l ForT Lauderda|e. F|orlda 33314

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EXHIB!T M
FAC JANUARY 23, 2012 LET'I`ER

[attached]

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Atlanra Chlc

BARNES &TI_IORNBURG LLP F s L E D Promin¢nce in Buclthead

Suite 1700
34?5 F'icdmont Road N.E.

Atlanta. GA 30305-29$4 U.S.A.

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|lm.leonard@htlaw.com chill § ."l\\"\--?S iff-§ www.bt|aw.com

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J,anuary 23, 2012
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VIA E-MA[L: JESSICA@BROWNLAWLLP.COM

Jessica C. Tyndall, Esq.

Brown Law LLP 7

4130 Parklake Avenue, Suite 130
Raicigh, NC 276] 2

 

Re: Matter: Pittman, et ai. v. Minson
Policy No.: ICP-91968-0710
Claim No.: 102817

Dear Jessica:
This is to respond to your Januazy 17, 2012 correspondence regarding the above claim.

Ai’ter reviewing your letter, we are at a complete loss as to the basis for your conclusion
that no coverage exists under the Catlin policy for the Pittman claim. We are in fact astounded
by Catlin‘s complete lack of good faith in its management of this file from the beginning, which
in bind sight, shows a complete lack of consistent or reasonable approach with this insured, First
Acceptance (“FAC”).

Catlin‘s position is based on an unsupportable reading of its own policy with respect to
the meaning of “written demand for monetary or non-monetary relief made upon an Insured."
While you refer generally to the Toral Garcia letters and the plaintiffs’ general "intcnt” to seek
an excess verdict against FAC's insureds, such statement of intent does not qualify as a "written
demand for monetary or non-monetary relief.“ Is it your suggestion that the plaintiff`s’ statement
of_an intent to obtain an excess verdict against one of FAC’s insureds constitute some sort of a
written demand on 'FAC? W`liat is the relief (eit.her monetary or non~rnonetary) which the
plaintiffs are demanding from FAC? These are rhetorical questions as it is clear that no such
“dernand" is being made on FAC. None of the letters rcferenced, nor any correspondence from
the plaintiffs’ counsel at any time demands a specific amount of monetary relief (or non-
monetary relief) from FAC. Whilc you indicate that: “regrettably, the only reasonable
interpretation of these letters is that the Pittmans made a written demand in January 2008,
notifying First Acceptance that they intended to seek monetary relief in the form of an excess
verdict" does not constitute a “written demand for monetary relief.“ Based on the language in
your own letter, it’s clear that the letters-expressed merely an "intent" to obtain an excess verdict
against FAC’s insureds Catlin’s position in this regard, as expressed in your January 17, 2012
letter, is completely groundless and is the basis for a bad-faith claim against Catlin for its denial

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Jessica C. Tyndail, Esq.
January 23, 2012
Page 2

of coverage in this case. Johnson v. Tennessee Farmer.r Murual Insurance Co., 205 S.W.3d 365
(Tenn. 2006).

With respect to whether a “written demand for monetary reiief" was submitted, we direct
your attention to Warren v. Federal !nsurance Co. 358 Fed. Appx. 670, 2009 WL 4927968
(C.A.6 (Ohio)), interpreting the precise language at issue in this case. in the Warrerr case, the
Sixt.h Circuit reviewed the plaintiffs claim that'a "written demand for monetary" damages was
made under it’s D&O policy form. In that case, the letter indicated that the plaintiffs believed
that the Warrens were responsible for misrepresentations regarding Prime’S inventory which
affected the borrowing base certificates and Prirne's financial statements upon which PNC relied.
The letter further stated that: “We are currently evaluating PNC’s rights and remedies with
respect to these misrepresentations.” (Warren .S'upra, 358 Fed. Appx. 670, 674.) The Sixth
Circuit concluded that a claimant who was "currently evaluating" its rights and “making a claim
for monetary damages” are “mutually cxclusive." lndeed, as in this case, a claimant who
indicates that FAC has acted in bad faith and therefore it will seek an excess judgment against its
driver insured provides no “written demand for monetary relief" - indeed there is no relief of any
kind demanded It is merely a statement of intent, as in the Warren decision above.

Under Tennessee law, it is well established that a court‘s initial task in construing an
insurance contract is to determine whether the language of the contract is in any way ambiguous '
W]:rile language that is susceptible to more than one reasonable interpretation is ambiguous and
should be construed in favor of the insured, courts should not favor either party if the policy's
language is unambiguous and free from doubt and should enforce unambiguous policies as
written. .S`ee, e.g., Spears v. Tennessee Fnrmers Muruai Insurance Co., 300 S.W.Sd. 671 (Tenn.
App. 2009). In our view, the policy’s language is not ambiguous, but clearly requires a “written
demand" for some form of “monetary relief" or "non-monetary relief." You have not identified
the specific “relief” which is “demanded” by any of the correspondence forwarded by the
plaintiffs Your statement that there is only “one reasonable interpretation" of those letters is, in
our view, evidence of bad faith and is not even a` reasonable alternative interpretation of' the `
letters. As you have not been able to cite the relief demanded from FAC, no claim was made
earlier which would trigger the exclusions cited in your letter with respect to a Notice of Claim
under an earlier policy period. . --

Pursuant to Tennessee law, FAC demands that Catlin accept the Pittman claim for
coverage and immediately reverse its position with respect to its denial (as set forth in your
January 17, 2012 letter). Catlin‘s failure to do so within the time required by law will expose
Catlin to bad-faith penalties as well as any other remedy available at law or in equity.

Finally, in light cf Catlin‘s crownless and bad-faith denial of coverage in this `matter,
FAC will act as a reasonable insured in further managing the Pittman claim and will either
defend or settle the claim as it deems reasonable and will hold Catlin responsible for payment of
the loss according to the applicable law. FAC continues to reserve all of its rights and remedies
under the policy and at law generallyl In light of Catlin‘s outright denial of coverage, there is no
longer any mutuality of interest which would permit FAC to share information with Catlin on a

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Jessica C. Tyndall, Esq.
January 23, 2012
Page 3

privileged basis with respect to the Pittman clairn. FAC demands that Catlin keep all materials
forwarded to it previously as confidential work product and maintain that confidentiality until
otherwise advised. If Catlin will not agree to do so, you must advise me immediately so that we
may seek an appropriate protective order with respect to the documents shared, in good faith,
with Catlin while Catlin operated under a reservation of rights with FAC.

Govem yourselves accordingly.

Very truly yours,

@_

James J. Leonard
JJL/dah

cc: Mr. Rick Oliveira
Mr. Mark Reinekc
Mr. Scott Walker
Mr. Dan Walker
Mr. Joe Kissane

ATDSOI 17l0l4vl

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EXHIBIT N
TYNDALL JANUARY 27, 2012 LETTER

[attached]

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jessica c. rynclal.l
919.719.()856

F g L E Qica@brownlawllp.com

ZB|ZHAR ~`l PH|2= 30 7

january 27, 2012

' via electronic and first class mail.

 

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Vicc Presiclent Legal r\ffairs Barnes 8c Thornburg, LLP rl__` U_
First Acceptance Corporation l’ronuhéhc'é“ifi"B‘tic`ltHEaH`;“StiilE "'1'700
3322 West End Avenuc - Suite 1000 3475 Piedrnont Road, N.E.
Nashviile, Tennessee 37203 Atlanta, Georgia 30305-2954

 

 

  

 
 

    

 

rc: _ Pittmnn. e't. al. .M-ins "n _ t ` ' ,

insurer: Catlin Insurance Company (UK), Ltd. (“Catlin”)
posey #: 1cP-91958-0710 (¢he “Policy")

policy period: 7/1/2010-7/1/2011

policy timit: $5,000,000

retention: $1,000,000

claim #: NYU-PL~IH‘.?OG

   

Dear Messt's. Rc`tneke and leonard,

Wc are in receipt of hlr. Leonard’s january _23, 2012 letter requesting that Catlin reconsider its
decision to disclaim coverage |`or the above-referenced claim. \'i'.'hllc i_n the process of responding to Mr.
l’itrman’s letter today, we received a telephone call from hlr. Reinelte advising us __ol' a “pnr`cntial”`t)pi:'n-)rtuni_t_)l
to resolve the Pittman litigation for nn amount approximating $3',1)_00!00_0. \‘i'c_su_l)scqucntly received an,en'_mll
from Mr- Reincke demanding that Catlin reconsider its coverage position and participate in settlement
negotiations C)n behalf of Catlin, please allow us to respond. t

Regartling hlr. Lconard's letter,`let us l`trst note that, Catlin‘s willingness to review additional
materials, arguments and legal authority should not he construed as a waiver, modification or limitation of
any of Catlin‘s rights under the Policy or applicable law. 'I`o be sure, Catlin continues to reserve all of its
rights and remedies to the maximum extent permitted by law.

Catlin has carefully considered the arguments made in Mr. Lc_onnrd’s, correspondence \‘i’c note that
Catlin was aware ot' the legal authority cited in _r_hat letter prior to disclaiming coverage for this matter, and
Catlin has reviewed tlrose'-cnscssgnin at your-request l-litving_ thoroughly evaluated its coverage position,
Catlin has determined tliat'its_deci`sion to disclaim coverage l'or this matter was sound and supported _by thc
facts and applicable lath This matter does not-constitute ii Claii`r.rthat'wns first made within thc Policy Period.

and as a result_ there is n‘_o av-ailahle'coverag‘e under the P_t`ilicy;

Regarding Mi‘. Reincke’s telephone call and email, we have confirmed that the Pittmans have not
demanded SS,O(J0,0UO to settle their lawsuit or their bad faith claims against First Acceptancc. ]ndeed, Mr.
R`clnckc told us specifically that "no demand has been madc'~’ in the last few weeks. lnstead, it has only been
vaguely intimated in conversations among counsel that the Pittn_in`ns ming be willing to accept an amount
ammonia/ing S$`,UO0,00D to settle their claims Wc'.fur_ther understand that there have been no assurances that
the Pittmans will accept 53,000,000 ii` such nn offer is tendered to them. nccordingly, notwithstanding
Catlin‘s coverage position, which remains unchangcd, there does not appear to be a demand to which Catlin
can or must rcspond.

Despitc the absence of a concrete intention to resolve this matter by the Pittmans, First Acceptancc
- ns advised Catlin that it believes it can resolve the Pittmans’ lawsuit for $3,000,000 or less and that doing so

 

 

   

 

would be a reasonable settlement of the Pittmans’ claims. Catlin encourages First Acceptance to act

reasonably and reserves its right to contest the reasonableness of any settlement in amount exceeding

33,000,000.

Pleasc he advised that Catlin expressly retains the right to decline to cover this matter based on policy
provisions and legal principals that are not expressly set forth in this correspondence or the prior
correspondence we and Ca dirt have exchanged with First Acceptance relating to this matter. Shouid you feel
there is more to discuss, please do not hesitate to contact us.

    

Wc -rernaln,
Cordi'allyl
rego _
_lcssica C. 'I`
cc: lticl< Oliveira (via electronic mail only)

Xl.. lnsurance c/o Bi.ll Smith, Wiley Rein, LLP (via electronic mail on]y)
Dereik Wood/Chartis lnsurance \(via electronic mail on])

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Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 92 of 104 Page|D #: 116

 

EXHIBIT O
FAC FEBRUARY 7, 2012 LETTER

lattached]

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BARNES&THORNBURG LLP y . 7 Prom|nence|n Buckhead
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(404) 546-1693

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.n___?__,__,r . l ._._.l?-()-&"'-'

VIA E-MAIL', JESSICA@BROWNLAWLLP.COM

Jessica C. Tyndall, Esq.

Brown Law LLP

4130 Parklake Avenue, Suite 130
Raleigh, NC 27612

Re:_ First Acceptance Corporation

Policy No.: lCP-91968-0710
Catlin Claim No.: NYU-PL-114906 ‘
Civil Action: Pitrman, et al v. Mn.ron, Columbl`a County, Fi..‘

Clvil Action No. 08~] OS-CA

Dear Ms. Tynda]l:

This will respond to your January 27, 2012 correspondence regarding the above matter.
We have reviewed all of the correspondence between the parties hereto dating back to the June 7,
2011 notice letter which was Sent to Catlin via Lockton lnsurance Brokers LLC. Having
carefully reviewed the facts and the applicable law, we have concluded that it is abundantly clear
that Catlin is acting in bad faith with respect to insured First Acceptance Corporation, and that
our client intends to hold Catlin responsible for all damages and penalties available under the law
for Catlin‘s unreasonable, improper and bad-faith claim techniques which you and Catlin have
utilized in the management of this claim and Catlin‘s ultimate denial of coverage,

From the time this matter was first reported to Catlin as a "Notice of Circumstances” on
Junc 7, 2011, Catlin has shifted its coverage position repeatedly in an effort to wrongfully deny
coverage for this matter. Upon initial receipt of the Notice cf Circumstances, Catlin‘s lnna 1
Kogan first took the position with First Acceptance that Notices of Circumstanccs were reguired
to be reported to Catlin under the terms of the policy'. Of course, this position was meritless, and
was initially advanced by Ms. Kogan with an apparent intent to improperly limit coverage for the
Pittman matter. Once we directed Ms. Kogan to the language of her own company's insurance
policy issued .to First Acceptance, as well as the previous discussions which your firm and I had,
Ms. Kogan recanted her position by cma.il dated July 27, 2011. As of that date, Catlin agreed to
accept the Pittman matter as a Notice of Circumstances. The obvious reason for that was that no
“writ'ten demand for monetary relief” had been made against First Acceptance as of that date.
Ms. Kogan had the May 6, 2011 written demand upon the driver insured, and it was clear that
Ms. Kogan did not consider that demand sufficient to trigger a “Claim” under the policy.

Atlanta Chicago Delaware - lndiana Los Angcles Michigan Mlnneapolls Ohio Washington, D.C.
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n Jessica C. Tyndall, Esq.
February 7, 2012
Page 2

As the underlying Pittman claim proceeded toward mediation and a trial date, First
Acceptance requested Catlin to become involved in the claim process and to formally consider
the Pittman matter as a “Claim” (rather than simply a Notice of Circumstances) under the policy.
By my letter dated September 13, 2011 to Ms. Kogan, First Acceptance requested Catlin become
directly involved in further settlement negotiations regarding the Pittman matter, and “to confirm
Catlin’s coverage position with respect to this matter. . ..” On October 31, 2011, you advised Mr.
Reineke by email correspondence that “Catlin has determined that the matter should be treated as
a Claim going forward” and requested a substantial amount of information from First
Acc'eptance. Your October 31, 2011 letter (alth_ough it is dated October 31, 2010) acknowledged
that: “Althou'gh “Claim“ is defined by the Policy as a “written demand for monetary of nond
monetary relief," based on the circumstances surrounding the Pittman’s lawsuit against First
Acceptance’s insureds, their demand at the recent mediation, and their continued allegations that
First Acceptance erred in its claims handling, Catlin has concluded that it is proper to treat this
matter as a Claim at thisjuncture."

Thereafter, First Acceptance provided Catlin with its claim file and related documents for
its review. First Acceptance involved Catlin in all settlement discussions in the Pittman matter,
and repeatedly requested Catlin‘s active participation in the settlement process and mcdiation.
Catlin, through your offices, repeatedly stopped and started its commitment to a mediation, and
did not even provide First Acceptance with authorization to offer its $1 million self-insured
retention until January l l, 20_1_2. At that point, Catlin had forced First Acceptance into _a position
of squanderi_n`g` _a`ny mid~January mediation opportunity with the 'Pittman plaintiffs, and Catlin
further refused to commit to participate in mediation whatsoever. This “about facc" in Catlin‘s
position regarding settlement negotiations and mediation was completely unfounded and appears
simply to have been a delaying tactic on Catlin‘s part in order to stall until it could "create” some
reason to deny the Pittman claim.

On January 17, 2012, Catlin, through your offices, denied all coverage for the Pittman
matter, contending that the .lanuary 29, 2008 and January 30, 2008-letters from Alejandro.'M.
Garcia constituted a “written demand for monetary relief’ under the Policy and therefore the
Pittman matter did not trigger coverage during the 2010-2011 policy period. These two letters
were the only new information provided to Catlin from the October 2011 through January 2012
timeframe. What you and Catlin have failed and refused to answer is the question contained in
my ._Ianuary 23, 2012 correspondence: What is the monetary or non-monetary relief which the
plaintiffs are "demanding” from First Acceptance in the January 29, 2008 o`r January 30, 2008
letters? The January 30`, 20_08 letter merely contains citations to two Florida cases. That letter
makes no demand of any kind whatsoever, but is merely informative with regard to case law
which Mr. Garcia considered relevantl The January 29, 2008 letter to which you refer as making
a “written demand" notifying First Acceptance that they “in_tended to seek monetary relief in the
form of an excess verdict” contains no demand whatsoever against First Acceptance_.- You and
Catlin have refused to identify what it is that Mr. Garcia is demanding from First_Acceptanc_e in
this letter. Your position is groundless, improper, and is the essence of.bad faith. Your January'
.17_, 2012 letter even describes the J_anuary 2008 correspondence as expressing an “int'ention” to
seek monetary relief in the form of'an excess verdict, which, under any applicable law does not

BARNES&THORNBURGM n
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Jessica C. Tyndall, Esq.
February 7, 2012
Page 3

constitute a “written demand for monetary or non-monetary relief” as required under the policy.
The statement that Mr. Garcia will be "looking for an excess verdict in these cases” does not
constitute a demand for anything. Neither you nor Catlin have pointed to any amount or non-
monetary relief which is being demanded by the Pittman plaintiffs from First Acceptance. They
do not demand an excess verdict from First Acceptance. They do not demand any money from
First Acceptance. They do not demand that First Acccptance tender its policy limits to their
clients. ln short, Catlin’s coverage position is baseless

Your January 27, 2012 letter provides no insight or argument to dispute the conclusions
set forth in my January 23, 2012 correspondence Rather, you conclude without any justification
or legitimate response to my January 23, 2012 letter that Catlin’s decision to disclaim coverage
“was sound and supported by the facts and applicable law." While you indicate that you were
even aware of the Tennessee and Sixth Circuit law set forth in my January 23, 2012 letter, you
make no effort whatsoever to distinguish or address in any manner those cases cited. Again, we
view your January 2'7, 2012 letter as a mere stonewalling tactic which provides no insight or
illumination of Catlin’s coverage position.

. As you now know, the Pittman matter has been resolved for $2.1 million, which will be
paid by First Acceptance following the final negotiation of settlement documents and approval of
that amount by the court. Your January 27, 2012 letter advises that Catlin reserved its rights to
contest reasonableness of any settlement in amount exceeding $3 million. Therefore, we trust
that Catlin has no objection and has waived its rights to contest the reasonableness of the $2.1
million settlement amount.

Having reviewed all of the facts, applicable law, and prior correspondence between the
parties regarding the Pittman matter, it is abundantly clear that Catlin has no coverage defense to
this matter and has acted in bad faith with respect to its insured First Acceptance. Once again, on
behalf of my client, this is to demand that Catlin tender $l.l million to First Acceptance for
payment to the Pittman plaintiffs. Your client’s failure to do so will result in First Acceptance’s
enforcement of its rights against Catlin for any and all damages and penalties available under the
policy and the applicable law.

Very truly yours,

OZ/_

Jaines J. Leonard
JJL/dah

cc: Mr. Rick Oliveira
Mr. Mark Reineke
Mr. Scott Walker
Mr. Dan Walker
Mr. Joe Kissa.ne

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Case 3:12-cv-00484 Document 1-4 Filed 05/16/12 Page 96 of 104 Page|D #: 120

 

 

 

 

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TOi limits m A'DDRBSS Ol' narmml '
Catlin Inlurmeo Company tUK), Ltd.
c/n Bt:lv¢ Adunl

3340 Pnehtrn Road H.B., Suite 2950
M'.lnntl, GA 30326

theth of B¢rvi.c¢: *Com. 0£ Insur¢no»

Lilt. each defendant on n separate luman¢. *httaeh qu'uired rul

 

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tennessee vault strauss Musr as user wmata nunn (30} mrs men nrc oer mrs summons is steven
upon you. you nusr me voun partner wrru nut clean or nrc court1 mo sane A con ro nrc Puurmrr's
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ttomov for plaintiff or plaintiff if filing Pro S¢i ' F_tLEo, issued a ATrEs'rEo ' '
Lu|s C. Bustamantc, BPR No. 015328
tamm r. iavman, ass no. ozsiss HAR " 1 2012
Wooll, McClane, Bright, Nien & Carpenter, PLLC ,, - , _
900 Soul:h Gay Streel, sulie 900 cRISTt SODTT, Ctorlt and M_ntnr
P.o. sex 900 cyr 1 Public square
Knolwl|le, TH 37901-0900 - $ultl 306
(565) 215-1000 ' ludwiin TN 37201
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_No'rics or nlsrosirion mrs _

 

The disposition date of this case is twelve months from date of tillrig. The case must be resolved or set for trial by
this date or lt will be dismissed by the Court for failure to prosecute pursuant to T.R.C.P. 41.02 and Loca| Rule 18.

y If you think the case will require more than one year to resolve cr set for tr|al, you must send a letter to the Cierk
and Master at the earliest practicable date asking for an extension of the disposition date and stating your reasons.
Extensions will be granted only when exceptional circumstances exist.

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Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 97 of 104 Page|D #: 121

 

 

 

***Bu.bmii: one original plus one copy for each defendant t:o be eervod.

blunt coordinate:. extent scott tssz-s'r).oi

 

RETURN ON SERVICE OF SUMMOixlS

 

| hereby return this summons as follows: (Name of Party Scrv¢d)~__ ;j) l ‘ii) O{ _1 /Di` it N\,U Abil\i fill tit

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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int tztuiz flng WM :_\) MV
_ _ 3 crt `l or oi ter a\@o tr tie\'lso to serve qcs
______ _ ' narunn on sanvtca or summole try ninth _ - \ ii 973 -'t_ ' '
' .' f
l hereby certify and return that on the day ol` .20_, l sent. postage prepald, by registered return
receipt mall or certified retum receipt mail. a certified copy ofthe summons and a copy ofthe complaint in case _ _ to
thc defendant l 7. On the “_ day of 7 , 20_, l received the return
receipt, which had been signed by _ ___ 7 __ on the 7 day of rrrrrrr , .20;;_.
The relum receipt is attached to this original summons to be filed by the Clntncety Court Cierk & Masier.
Sworn to and subscribed before me on this day of . Signalutc of plaintiff plaintift`s anomcy or other person
t 20 ___. ' authorized by statute ic serve prccess.

 

Signaturc ol`_ ___Nolary Pub|ic or . Dcpuly C|erit

 

 

 

My Commlssion Expircs:

 

Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 98 of 104 Page|D #: 122

 

 

 

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TO THE DEFENDANT[S):

Tennessee law provides a ten thousand dollar (Sl0.000.00)
debtor's equity interest personal property exemption from execution or
seizure to satisfy ajudgment. |f' ajudgment should be entered against
you in this action and you wish to claim property as exempt. you must
file tt written llst. under oathl ol`the items you wish to claim as exempt
with the clerk ofthe court. The list may be filed at any time and may
be changed by you therealier as necessary; however, unless it is filed
before the judgment becomes final, it will not be effective as to any
execution or garnishment issued prior to the filing ofthe list. Cenain
items are automatically exempt by law and do not need to. be iisted;
lhe‘.se include items uf necessary wearing apparel (ciothing) |"or yourself
and your family and trunks or other receptacles necessary to contain
such apperei. family portraits, the family Bible, and school books.
Should any of these items be seized you would have the right to
recover them. ii` you do not understand your exemption right or how to
exercise it, you may wish to seek the counsel oi`a lawyer.

Mttil list to: Clerlt & Master
l Public Squnrc
Suite 308
Nashville TN 3?20|

P|ease state file number on lisl.

 

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't§ crtsti §eon. clerk a stoner otrhr Chancery Court in the state st CRtsrt sco'r'r. clerk er stoner
Tennessee, Davidson County, do certify this to be a true and correct
copy of' the original summons issued in this case. By:

D.C. &. M.

 

 

 

Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 99 of 104 Page|D #: 123

 

 

 

 

 

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600 Congrl»o .lwemue, Suite 3000
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you aaa sur-tnonsn ro person acrer Acrro`n men acatnsr you r`rt contractor counr, nsvrosort courtTY,
TENNESSEE. YOUR DEl-`ENSE MUST BE MADE WITHIN THIRT¥ (30) DAYS FROH THE DATE TH|S SUHHOHS 15 SERVED
UFON YOU. YOU Hl.lST FlLE YOUR DEFENSE WITH THE CLERK UF THE COURT AND SEND A CDPY TO THE PLAIHT!FF'S
ATTDRNE`¥ AT THE ADDRESS LI$TED BELOW. IF YOU FAIL TO DEFEND TH!S ACT`ION BY THE ABOVE DA`I'E, JUD'GHEHT
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Wooli. McClane, Btight, Nlen & Carpenier, PLLC

 

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P.O. Bo)t 900 By: ' 1 Publlc Squaro
l(noxville. TN 37901-0900 Suite 300

(365) 215-1000 Nuttvllle, TN 37201

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The disposition date of this ease is twelve months from date of fl|ing. The case must be resolved or set for trial by
this date or lt wl|| be dismissed by the Court for failure to prosecute pursuant to T.R.C.P. 41.02 and Locai Rule 18.

If you think the case will require more than one year to resolve or set for trla|, you must send a letter to the Clerit
and Master at the earliest practicable date asking for an extension of the disposition date and stating your reasons.
E)ttenslons will be granted only when exceptional circumstances exist.

 

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Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 100 of 104 Page|D #: 124

 

 

 

 

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bn.DA Coordinltor, Cr:i.st:i Buott (062-5'710)

 

RETURN ON SERVICE OF SUMMONS

/hercb_y relumlhis summonses follows: (Name oi`Party Servec`i}l; it N{` (.£ [AdeM_ M)I§Agri "`LM¢ML-}¥/
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i hereby certify and return that on the day oi` _. 20 .| sent postage prepaid, by registered retum
receipt mail or certified return receipt mail a certified copy oi` the summons and a copy oi`the complaint in case __4__ n to
the defendant__ _ _ .On the a___ day of 7 _____, 20__. l received the return
receipt which had been signed by on the day of . . 20_,_
The return receipt is attached to this original summons to be filed by the Chancery Court C|erk & Masle_r.
Sworn to nnd subscribed before me on this _ ___dny of Signature oi`plaintifl`, pioin`tiii"s thorney or other person

authorized by statute to serve process.

 

,20__
Signature: ol'_ _Notary Pubiic or _ Depuiy Cierk

 

 

 

 

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aSe 3'12 cv 00484 Document 1-4 Filed 05/16/12 Page 101 of 104 .Page|D'#: 125

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PROPERTY EXEMPT|GN
To THE oer-*ENDANT($): '

Tennessee law provides n ten thousand dollar ($ |0,000.00) _
debtor`s equity interest personal property exemption from execution or
seizure to satisfy ojudgment. if a Ju_dgment should be entered against
you in this action and you wish to claim property us cxc_rnpt, you must
file'a written llst, under onth. of thc items you wish to claim ns exempt
with the`clcrit` ofthe count ri'he list may be filed at any time and may
be changed by you thereafter as heccssary; however. unless lt is liicd
before the judgment becomes l`rna|. it will not be effective as to any
execution or garnisi\mc'nt'issue_r.i prior to tire filing ofthe llst. Ccr`tain
items are automatically exempt by law and do not nccd to be lisicd;`
these include items of necessary wearing apparel (clothing) for yourself
and your tamin and trunks or other receptacles necessary to contain
such npparcl, funtlly-pomils, the i'a_n_lily Bible, and school books
Should any of these items be seized you would have the right to
recover them. if you do not understand your exemption right_or how to
exercise it, you may wish to seek the counsel oi'a lawy¢r.

Mal`l list to: C|erlt & Masler
l Pubiic Squarc
Suite 308
Nashvi||e 'I'N 3720|

Please state tile number on list. .

 

 

' Ct-;RTtFrcA'rtOr~r (tF APPL!CABLE)

 

 

 

i. Cristi Scott. Clcrir & Masler ofthe Chanc'e"ry Court in the Suite-of
Tennessee. Davidson County, do certify this to be a true end correct
copy oi` the original summons issued in this case.

 

ctus"n scorr. cmr rt trans

By:

D.C. & _M._

 

 

 

 

 

 

 

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§CANNEB

lN THE CHANCERY QQ|EAXSON COUNTY, TENNESSEE

FIRST ACCEPTANCE CORPORAT|ON,
P|aintii"f,
v. No.: 12-0348-|V

CATLIN lNSURANCE COMPANY (UK),
LTD.,

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)
Defendant. )
ALlAS SUMMONS

To the above-named Defendant, CATL|N INSURANCE CONiPANY (UK), LTD.,
o/o Steve Adams, legal counse|, 3340 Peachtree Road, N.E. Suite 2950, At|anta,
Georgia 30326.

‘fou are hereby summoned and required to serve upon Luis C. Bustamante,
P|aintiff's attorney, whose address is 900 Gay Streetl S.W., P.O. Box 900, Knoxvil|e,
Tennessee 37901, an answer to the Comp|aint herewith served upon you within 30
days after service of this Alias Summons1 Complaint upon youl judgment by default can
be taken against you for relief demanded in the Comp|aint.

_ . APR 1 s 2012
lssued and tested this day of 7 j f _ , 2012.

CR|ST| SCOTT

ERK AND MASTER
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oaqu clerk

Case 3:12-cv-OO484 Document 1-4 Filed 05/16/12 Page 103 of 104 Page|D #: 127

 

To the Defendant:

Tennessee law provides a four thousand dollar ($4,000) personal property exemption from
execution or seizure to satisfy a judgment lf a judgment should be entered against you in this action and
you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to
claim as exempt with the Clerk of the Court. The list may be H|ed at any time and may be changed by
you thereafter as necessary; however. unless it is filed before the judgment becomes final, lt will not be
effective as to any execution of garnishment issued prior to the filing of the list. Certain items are
automatically exempt by law and do not need to be listed; these include items of necessary wearing
apparel for yourself and your family and trunks or other receptacles necessary to contain such apparel.
family portraits, the family Bible, and school books Should any of these items be seized, you would have
the right to recover them. lf you do not understand your exemption right or how to exercise it, you may
wish to seek the counsel of a lawyer. TCA 26-2-114.

SERV|CE INFORMATION

To the process server: Defendant, CATL|N |NSURANCE COMPANY (UK), LTD.l c/o
Steve i¢\ldams1 legal counsel, 3340 Peachtree Road, N.E. Suite 2950, At|antal Georgia
30326.

RETURN
l received this alias summons on the day of n , 2012.'
l hereby certify and return that on the day of _________ _ , 2012. |:-

( ) served this alias summons and complaint on defendantl in the following manner:

 

 

 

 

 

 

Process Server

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